Case 19- `
50441 Doc 1 v|=i|ed 04/02/19 Entered 04/02/19 11:59:03 Page 1 of 57

 

United States Bankruptcy Court for ther

District of Connecticut

Case number uri<no\vn); Chapter you are filing under:
1 Chapter7

n Chapter 11

t.:l Chapter 12

Cl ohapieria a Checl< if this is an

t amended filing

Official Forrn 101
Voluntary Pe't:`i't:iorn tier Endividuals Filing for Bankruptcy

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes it either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. ln¢joint cases, one of the spouses must report information as Debtor1 and the other as Debtor 2. The
same person must be Debtor1 in all of the forms.

Be as complete and accurate as possil)le. lf two married people are filing together, both are equally responsible for supplying correct
intormation. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

12/'17

 

 

 

7 ldentify Yourself

  

.. Your full name

V\Irite the name that is on your
government*issued picture

AboutDebtor1:

Amy

About Debtor 2 (Spouse Only in a Joint Case):

j

identihcation (for example, F"Stt“§me First name

your driver's license or l\/\ar\e / §

paSSpOFl). l\/liddle name l\/liddle name `

Bring your picture Gamson / §
Last name Last name

identification to your meeting
with the trustee

Al| other names you

Suffi)< (Sr., Jri, ll, lll)

suffix (sr_, Jr., i\, \u>

/ §

have used in the last 8 First name First name

years

\nC\Ude your ma[[ied O|' Midd\@ name Midd\€ name

maiden names. , z
Lasf name Last name f
First name First name E
Middle name Middie name
Last name Last name

Only the last 4 digits of

your Social Security XXX _ XX " »Q~ -5- ~§~ -1- XXX _ XX _ _- --- -- --

number or federal OR oR

lndividual Taxpayer .
9)<)<-)<)<- 9)<)<~)<)<-

identification number
(lTlN)

Official Form 101

Voluntary Petition for lndividuals Filing for Bankruptcy

page 1

CaSe 19-50441 DOC 1 Filed 04/02/19 Entei’ed 04/02/19 11259:03

Debtor 1

First Name Middle Nan\e

 

Any business names
and Employer
identification Numbers
(E|N) you have used in
the last 8 years

include trade names and
doing business as names

5. Where you live

 

 

§ 6. Why you are choosing
this district to file for
bankruptcy

Official Form 101

Amy i\/larie Garrison
LastName

About Debtor 1'.

El l have not used any business names or EiNs.

Business name

Business name

EN__

435 i\/iain Street, No. 1

Number Street
__________/leff
Torrington CT 06790
City Siate ZiP Code

Litchfieid
County

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address

Number Sireet

______,_____,/-_*

P.O. Bo)<

/___________/
State ZiP Code

City

Checl< one.'

523 Over the last 180 days before filing this petition,
i have lived in this district longer than in any
other district

L:] i have another reason. E><piain,
(See 28 U.S.C. § 1408.)

_________/f
____,______f_/-_
____,,_________~__--,_-

_______________,__-»-

Voluntary Petition for individuals Fiiing for Bankruptcy

Page 2 of 57

Case number urwmwn)

About Debtor 2 (Spouse Only in a Joint Case):

l;l i have not used any business names or EiNs.

__{___/__,______---'

Business name

Business name

if Debtor 2 lives at a different address:

Number Sireet

/

/
State Z|P Code

City

/

County

if Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court wiii send
any notices to this mailing address

Number Street

____________________________---F-

P.O. Box

/
Siate Z|P Code

City

Check one:

m Over the iast_180 days before filing this petition,
i have lived in this district longer than in any
other district

i;l i have another reason. Expiain.
(See 28 U.S.C. § 1408.)

___#__,________»_-___'
_______//-~
,f___/’-~_

_’_,___f____,__»--_‘

page 2

Debtor 1

 

10,

11.

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First Name

  

Amy l\ilarie Garrison
LastName

Middie Nan\e

Page 3 of 57

Case number (illtnmvn)

Tell the Court About Your Bankruptcy Case

 

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Have you filed for
bankruptcy within the
last 8 years?

Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

Official Form 101

Checi< one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Fiiing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate bo)<.

m Chapter 7

[._.i Chapter 11
t;i chapter 12
C.] chapter 13

ill lwill pay the entire fee when l file my petition Please check with the cierk’s office in your
local court for more details about how you may pay Typicaily, if you are paying the fee
yourself, you may pay with cash, cashier`s check, or money order. if your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address

i;] l need to pay the fee in installments if you choose this option, sign and attach the
Appiication for individuals to Pay The Fiiing Fee in installments (Official Form 103A).

C] l request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). if you choose this option, you must fill out the Appiication to Have the
Chapter 7 Fiiing Fee Waived (Official Form 103l3) and file it with your petition.

m No
l:l YeS. District When Case number
l\iii\A/ DD/YYYY
District When Case number
i\iii\/i/ DD/YYYY
District When Case number
i\ili\ili DD /YYYY
m No
m Yes. Debior Relationship to you
District When Case number, if known
lti'li\ili DD /YYYY
Debtor Reiationship to you
District When Case number, if known
i\/ii\il / DD / YYYY
l:i No. eo to line 12.
m Yes. Has your landlord obtained an eviction judgment against you?

ii No. co to line 12.

L:\ Yes. Fili out lnitial StaiementAboL/i an Eviciion Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for individuals Fiiing for Bankruptcy page 3

Debtor 1

  

Case 19-50441

First Name

i\my i\iiarie Garrison
LastNan\e

i.litidie Name

D .
oc 1 Fl|ed 04/02/19 Entered 04/02/19 11:59:03 Page 4 of 57

Case number (iriinown)

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor m NOk 90 10 parr 4

18.

  

14.

of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporalion, partnership, or
LLC.

if you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor?

For a definition of small

business debtor, see
11 U,S.C. §101(510).

L:] Yes. Name and location of business

Name of business if any

/

Number Sireet

///

/

City State ZiP Code

Checlr the appropriate box to describe your business:

i;] Health Care Business (as defined in 11 U.S.C. § 101(27A))
m Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
[;l Stockbroker las defined in 11 U.S.C. § 101(53A))

i;] Commodity Broker (as defined in 11 U.S.C. § 101(6))

C\ None of the above

if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
can set appropriate deadlines if you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations cash~flow statement, and federal income tax return or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

m No. i arn not filing under Chapter 11.

i;l No. l am filing under Chapter 11, but l am NOT a small business debtor according to the definition in
the Bankruptcy Code.

ij Yes. l am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code. ,

Report if You Own or Have Any Hazardous Property or Any Property That Needs |mmediate Attention

 

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For exampie, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Official Form 101

m No
m Yes. V\ihat is the hazard?

//

///

if immediate attention is needed, why is it needed'?

//

V\lhere is the properly?

//

Number Street
/ __,___
City State ZlP Code
Voluntary Petition for individuals Fiiing for Bankruptcy page 4

Case 19-504 `
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Case number (iri<noivn>

Debtor1 Amy i\iiarie Garrison
LaslNe\ne

Fiist Name illiddie flame

 

Explain Your Efforts to Receive a Briefing About Ciredit Counseiing

 

 

AboutDebtor1: About Debtor 2 (Spouse Only in a Joint Case):

15. Tell the court whether
you have received a
briefing about credit
counseling.

You must check one: You must check one.'

i;l l received a briefing from an approved credit
counseling agency within the 180 days before i
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency

1121 i received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

The law requires that you
receive a briefing'about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. if you
cannot do so, you are not
eligible to fiie.

\:l l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

V\iithin 14 days after you file this bankruptcy petition,
you i\iiUST file a copy of the certificate and payment
plan, if any

m l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

V\iithin 14 days after you file this bankruptcy petition,
you l\iiUST file a copy of the certificate and payment
plan, if any.

if you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid and your creditors
Ca“_beg'n Co“ect'O“ gem/mee l;] l certify that l asked for credit counseling
agam' services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent

m l certify that i asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent

Official Form 101

circumstances merit a 150-day temporary waiver
of the requirement.

To ask for a 130-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed if any lf you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

il l am not required to receive a briefing about

credit counseling because of:

[.:l incapacity i have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

ill Disabiiity. i\ily physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried lo do so.

ll Active duty. i am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for individuals Fiiing for B

circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 250-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed if any. lf you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

Cl l am not required to receive a briefing about

credit counseling because of:

[;\ incapacity l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Cl Disabiiity. l\ily physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

[.:] Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling you must file a
motion for waiver of credit counseling with the court.

ankruptcy page 5

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Case number (if l<no\\'n)

canon Am i\iiarie Garrison
i.liddle Name Last Name

Fiist Name

  

Ansvveii' Ti\ese Questions for Reporting Purposes
16a Are your debts primarily consumer debts? Corisiimer debts are defined in 11 U.S.C. §101(8)
as "incurred by an individual primarily for a personal, family, or household purpose."

iii i\in. soto iine iei>.
m Yes. Go to line 17.

16. What kind of debts do
you have?

16b. Are your debts primarily business debts? Biisiness debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

1:] i\io. Go to line 160.
i:i Yes. coioiine 17,

16c, State the type of debts you owe that are not consumer debts or business debts.

11, Are you filing under
ll No. l am not hilng under Chapter 7. Go to line 18.

Chapter 7?

DO you estimate that after m Yes. l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and

any exempt property is

excluded and §Z] NO
administrative expenses
are paid that funds will be m YeS

available for distribution
to unsecured creditors?

18. How many creditors do iZ] 1-49

you estimate that you C] 50_99
OWe'-' iii 100-199
Ci 200-999
19. How much do you m $0-$50,000

estimate your assets to
be worth’?

ill sso,ooi*sioo,ooo
l:i sioo,ooi»ssoo,ooo
l;i ssi)o,ooi-si miiiion

20. How much do you C\ $0-$50,000
estimate your liabilities ill sso,ooi-sioo,ooo
to be? i:i sioo,ooi-ssoo,ooo

i;i seoo,ooi-si iniiiion

Sign Below

  

l have examined this petition, and l d

FOr you correct

if l have chosen to file u
of title 11, United Siates

under Chapter 7.

if no attorney represent
this document l have o

l request relief in accordance witht

l understand making a false
with a bankruptcy case can

ill i,ooo-e,ooo
13 5,001-10,000
E.`.i 10,001-25,000

Ci si,ooo,ooi-sio miiiion

El sio,ooo,ooi-seo miiiion
ill sso,ooo,ooi-$ioo miiiion
E] s100,ooo,ooi-s500 miiiion

ill si,ooo,ooi-$io miiiion

Ci sio,ooo,ooi~sso miiiion
Ci sso,ooo,ooi-sioo miiiion
i.'.,i sioo,ooo,oor-ssoo miiiion

s me and l did not pay or agree to pay someo
biained and read the notice required by 11 U.S.C. § 342(b).

18 U.S.C,!§§ 152, 1341, 1519, and 3571.

t

    
  
 

  

Signature of l/I)ebi'or 1

 

E)<ecuted on i'

i\iii\il i DD iYYYY

Official Form 101

Voluntary Peti

jt

administrative expenses are paid that funds will be available to distribute to unsecured creditors?

ill 25,001*50,000
ill 50,001-100,000
n i\/iore than 100,000

i§] ssoo,ooo,ooi-si binion

E] s1 ,ooo,ooo,ooi-sio biiiion
ill sio,ooo,ooo,ooi-$eo biiiion
Ci iviore man sec biiiion

ill ssoo,ooo,ooi-si biiiion

i;i si,ooo,ooo,ooi-sio biiiion
Ci sio,ooo,ooo,ooi-sso binion
Ci iviore than sec biiiion

eclare under penalty of perjury that the information provided is true and

nder Chapter 7, i am aware that l may proceed if eligible, under Chapter 7, 11,12, or 13
Code. i understand the relief available under each chapter, and l choose to proceed

ne who is not an attorney to help me fill out
he chapter of title 11, United States Code, specified in this petition,

statement concealing property, or obtaining money or property by fraud in connection
result in fines up to $250,000, or imprisonment for up to 20 years, or both.

Signature of Debtor 2

tion for individuals Fiiing for Bankruptcy

Executed on

____,_,___»-
i\iii\i|/ DD /YYYY

page 6

by an attorney, you do not

Case 1 - `
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PaQe 7 or 57
Debtor1 Amy Mar1e Garrison Case number iii/marvin
Fiisl Name i.iiddle Name Last Name

F tt _f i, the attorney for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility
Or your a Omey’ l you are to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief

represented by one available under each chapter for which the person is eligible l also certify that l have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that l have no
\f VOU are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect

need to file this page. §§

 
 

Date 03/30/2019
MM / DD / YYYY

  

Signaiure of Atiorne §for Deb:tor
"»c}‘

Gregory T. Noian, Esg.
Printed name

Renzuilo & Associates
Firm name

65 Elm Streei
Number Street

////

V\iinsted CT 06790
City State ZlP Code
Comact phone (860) 379-9885 Emai, address Gregory@kinsmannolan.com

 

ci26971 CT
Bar number Slate

Official Form 101 Voluntary Petition for individuals Fiiing for Bankruptcy page 7

Case 19- `
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Debtor 1

Amy l\liarie Garrison
First Name iviiddle Name Last Name

Debtor 2
(Spouse it, filingi Firsl Name i\/liddle Name Last Name

United States Bankruptcy Court for the'. DiSTRiCT OF CONNECT|CUT

Case number
(trknown) ['_'i Check if this is an

amended filing

 

Official Form 1063um
Summary of Your Assets and Liabilities and Certain Statistical information 12/15

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. if you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Your Assets

        

Summarize

Your assets
Value of what you own

1. Schedule Ale Property (Officiai Form 106A/B)
1a. Copy line 55, Total real estate, from Scheduie A/B ................................................................................................ $ 0'00
1b. Copy line 62, Total personal property, from Scheduie A/B ..................................................................................... $ 4,726_00
1c. Copy line 63, Total of ali property on Schedule AlB ............................................................................................... $ 4,726_00

 
     

Summarize Your Liabilities

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Clainis Secured by Property (Otticial Form 1060)
2a. Copy the total you listed in Column A, Amount of c/aim, at the bottom of the last page of Part 1 of Schedu/e D... $ 131150~00
3. Schedule E/F.' Creditors Who Have Unsecured Claims (Otficia| Form 106E/F)
3a. Copy the total claims from Parl 1 (priority unsecured claims) from line Ge of Schedule E/F ................................. 35 0~00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 61 of Schedu/e E/F ............................ $ 81 703_68

Your total liabilities $ 94,853.68

  

and Ex enses

  
 

4. Schedule /: Your /r)come (Official Form 1061)
Copy your combined monthly income from line 12 of Schedule l ................................................................................ $ 2»022-40

5. Schedu/e J: Your Expenses (Ot"iiciai Form 1OGJ)
Copy your monthly expenses from line 22c of Schedu/e J ..........................................................................

$ 2,020.00

  

Answer These Questions for Administrative and Statistical Records

    

6, Are you tiiing for bankruptcy under Chapters 7, 11, or 13’?
l'_'] No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules

i Yes
7. What kind of debt do you have?

- Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose." 11 U.S.C. § 101(8), Fill out lines 8-9g for statistical purposes. 28 U.S.C, § 159.

i:] Your debts are not primarily consumer debts. You have nothing to report on this part of the torm, Check this box and submit this form to
the court with your other schedules

Official Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information page 1 of 2

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Deth|' 1 Amy \Vlarie Garrison Case number (ifl<riOWn)

 
  

8. From the Statement of Your Current IVlonthly Income'. Copy your total current monthly income from Official Form
122A-1 Line11; OR,Form12ZB Line11;OR,Form122C-1 Line 14.

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F'.

Total claim
From Part 4 on Schedule E/F, copy the toilowing:
Qa, Domestic support obligations (Copy line 6a,) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
Qc. Claims for death or personal injury while you were intoxicated (Copy line 60,) $ 0,00
9d. Student loans. (Copy line 6t.) $ 28,980.00
9e. Obiigations arising out ot a separation agreement or divorce that you did not report as
priority ciaims. (Copy line 6g.) $ ,__________999_
Qf. Debts to pension or profit¢sharing pians, and other similar debts (Copy line Gh.) +$ 0,00
9g. Totai. Add lines 9a through Qf. $ 28,980.00
Official Form 1068um Summary of Your Assets and Liabilities and Certain Statisticai information page 2 of 2

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Amy lVlarie Garrison
Firsi Name |\/liddle Name Last Name

Debtor 2
(Spouse, it filing) First Name Mlddle Name Last Name

United States Bankruptcy Court for the: DlSTRlCT OF CONNECT\CUT

i:l check if this is an
amended filing

Case number

 

Official Form 106A/B
Scheduie AlB: Property » 12/15

in each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the category where you
think it fits i)est. Be as complete and accurate as possll)le. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).

Answer every question.

 
   

Describe Each Residence, Buiiding, Land, or Other Reai Estate You Own or Have an interest in

   

    

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

n No. Go to Part 2.
m Yes. Where is the propeny?

    
 
 

  

vi Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that
someone else drives. if you lease a vehicle, also report it on Schedule G.' Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

ij No
Yes
. Acura ~ . ._, Do not deduct secured claims or exemptions Put

3.1 i\/lake. Who has an interest m the property check one the amountof any Secured Claim$ en Schedule D:
Mode\; TL § Debtor 1 0an Creditors Who Have C/aims Secured by Property.
Year: _Z_QQLr’r./H m Debioi 2 0an Current value of the Current value of the
AppfOleai€ mileag€f 115000 i:l Debtor 1 and Debtor 2 only entire Pr°PeiW'-' portion VO\| °W“?
Oiii€f informallo“? l:] At least one of the debtors and another

    
   

warning light all indicating

problems $2,750.00 $2,750.00

l:] Check if this is community property
(see instructions)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

a No
m Yes

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
pages you have attached for Part 2. Write that number here ............................................................................. => $2’750‘00

 
  

tv Describe Your Personal and Household items
Do you own or have any legal or equitable interest in any of the following items?

  

    

Current value of the
portion you own?
Do not deduct secured
claims or exemptions
6. Household goods and furnishings

Examples: l\/la]or appliances furniture, linens, china, kitchenware

l:l No
Official Form 106A/B Schedule A/B: Property page 1

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Debtor 1 Amy N|arie Garrison Case number (ifl<nown)

n Yes. Describe .....

ots, ans, toaster, eatin utensils. $10.00

////

7, Electronics
Examp/es: Teievisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners', music coilections; electronic devices
including cell phones, cameras, media piayers, games

ij No
m Yes. Describe .....

two televisions, both used $100.00

//////

electric fire lace $100.00

////

8, Collectibies of value
Examples: Antiques and tigurines', paintings, prints, or other artwork; books, pictures, or other art objects', stamp, coin, or baseball card collections;
other collections, memorabilia, coilectibies

l No
l:l Yesl Describe .....

9, Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf ciubs, skis', canoes and kayaks; carpentry tools;
musical instruments

- No
l:i Yes. Describe .....

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

n No
l:i Yes. Describe .....

11. Ciothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

i:\ No
l Yes. Describe .....

a arei for self and for chlldren; nothin excetional. $'150\00

//////

12. Jeweiry
Examples: Everyday iewelry, costume iewe|ry, engagement rings, wedding rings, heirloom jewelry, watches, gems, go|d, silver

l:i No
l Yes, Describe .....

inexensive `ewler , a few rins and necklaces $250.00

/////,////

13. Non-farm animals
Examples: Dogs, cats, birds, horses

CiNo

n Yes. Describe .....
acat, ver friendl $1.00

14. Any other personal and household items you did not already list, including any health aids you did not list
w No

i:i Yes, Give specific information .....

Official Form 106A/B Scheduie A/B'. Property page 2

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Debtor 1 Amy i\iiarie Garrison Case number (ifknovvn)

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here .............................................................................. $611‘00

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the foilowing? Current value of the
portion you own?
Do riot deduct secured

claims or exemptions

      
       

16. Cash
Examples: Nioney you have in your wailet, in your home, in a safe deposit box, and on hand when you file your petition

l:i No
a Yes ................................................................................................................

Cash $50.00

 

17. Deposits of money
Examp/es.' Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions if you have multiple accounts with the same institution, list each.

l:iNo

Ye$ ....................... institution namet

17.1. checking $35.00

TD Barik

18. Bonds, mutual funds, or publicly traded stocks
Examp/es: Bond funds, investment accounts with brokerage firms, money market accounts

ENO

|] YeS __________________ institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

ENo

l:l Yes. Give specific information about them ...................
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiab/e instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them

l No
L__i Yes. Give specific information about them
issuer name:

21. Retirement or pension accounts
Examples: interests in lRA, ERlSA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

INo

l:i Yes. List each account separately
Type of account: institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examp/es: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies or others

i:iNo

g Yes. ____________________ institution name or individual:

security deposit for landord $1,050.00

#_______,.__-r__-‘

apartment

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
l No

[] Yes _____________ issuer name and description

Official Form 106A/B Schedule A/B: Property page 3

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Debtor 1 Amy Nlarie Garrison Case number (ifl<nown)

24. interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
L__l No

§ Yes _____________ institution name and description Separately file the records of any interests.11 U.S.C. § 521 (c):

Fidellty Bank $230.00

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit

iNo

l:l Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examp/es: lnternet domain names, websites, proceeds from royalties and licensing agreements

m No
l:l Yes. Give specific information about them..,

27. Licenses, franchises, and other general intangibles
Examples: Bullding permits, exclusive iicenses, cooperative association holdings, liquor iicenses, professional licenses
§ No

l:l Yes, Give specific information about them...

Current value of the
portion you own?

Do not deduct secured
claims or exemptions

l\lloney or property owed to you?

28. Tax refunds owed to you
m No

l___l Yes. Give specific information about them, including whether you already filed the returns and the tax years .......

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance divorce settlement property settlement

lNo

l:l Yes. Give specific information ......

30. Other amounts someone owes you
Examp/es: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security

benefits', unpaid loans you made to someone else
n No

l:l Yes. Give specific information..

31. interests in insurance policies
Examp/es: Heaith, disability, or life insurance; health savings account (HSA); credit, homeowner`s, or renter’s insurance

-No

l:l Yes. Name the insurance company of each policy and list its valued

Company name: Beneficiary: Surrender or refund

value:

324 Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because

someone has died.
o No

i:l Yesl Give specific information..

331 Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue
m No
l:l Yes. Describe each claim .........

Official Form 106A/B ` Scheduie A/B: Property page 4

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Debtor 1 Amy |V|arie Garrison Case number (ifl<novvn)

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
§ No

l:l Yes. Describe each claim .........

35. Any financial assets you did not already list
W No

l:i Yes. Give specific information..

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

for Part 4. Write that number here ..................................................................................................................... $1 1365'00

ess-Related Property You Own or Have an interest ln. List any real estate in Part 1.

  

Describe Any Busin

     

37. Do you own or have any legal or equitable interest in any business-related property?
§ No. Go to Partt`).
ij Yes, Go to line 38.

Describe Any Farm- and Commercial Fisliing-Reiated Property You Own or Have an interest ln.
lfyou own or have an interest in farmland, list it iri Part1.

  

  

   

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
§ No. co to Partr.
l:l Yes. Go to line 47.

Own or Have an interest in That You Did Not List Above

   

   

4 Describe Ail Property Yo\i

53. Do you have other property of any kind you did not already list?
Examp/es: Season tickets, country club membership

INo

l:l Yes. Give specific information .........

54. Add the dollar value of all of your entries from Part 7. Write that number here .................................... $0,00

List the Totals of Each Part of this Form

 

55. Part1: Total real estate, line 2 ...................................................................................................................... $0_00
56, Part 2: Total vehicles, line 5 $2,750.00

57. Part 3: Total personal and household items, line 15 $61'\_00

58, Part 41 Total financial assets, line 36 $1,365.00

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

624 Total personal property. Add lines 56 through 61 $4,726.00 COpV p€iSOnal Property tOi@\ $4,726.00

63. Total of all property on Schedule A/B. Add line 55 + line 62 $4,726.00
_______,_.___»d

Official Form 106A/B Schedule A/B: Property page 5

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Debtor 1

Amy Nlarie Garrison
Firsl Name |\Aiddle Name Last Name

Debtor 2
|Vliddle Name Last Name

(Spouse if, filing) First Name

United States Bankruptcy Court for the: DiSTRlCT OF CONNECTiCUT

Case number

ur known) ij Check if this is an
amended filing

 

Official Form 106(3
Schedule C: The Property You Claim as Exempt 4/16

Be as complete and accurate as possible if two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Officiai Form 106A/B) as your source, list the property that you claim as exempt. if more space is
needed, fill out and attach to this page as many copies of Pan‘ 2: Additiona/ Page as necessary On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you ciaim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

  
 
  

   

ldentif the Proert You Claim as Exem t

 

1. Which set of exemptions are you claiming? Check one only, even if your Spouse is filing With you.
n You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
l:l You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information beiow.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own

Copy the value from Chec/< only one box for each exemption

Schedule A/B .
pots, pans, toaster, eating utensils. $10 00 o $10_00 Conn. Gen. Stat. § 52-352b(a)

Line from Schedule A/B: 6.1 _»--_-'-“ j
m 100% of fair market value, up to
any applicable statutory limit

two televisions, both used $100_00 m $100_00 Conn. Gen. Stat. § 52-352b(a)
Line from Schedule A/B; 7.1 j j
g 100% of fair market value, up to
any applicable statutory limit

electric firepiace $100_00 m $100_00 Conn. Gen. Stat. § 52-352b(a)
Line from Schedule A/B: 7.2 r---'*‘ _____----_”_“_’
l:| 100% of fair market value, up to
any applicable statutory limit

apparel for self and for children; $150_00 § $150_00 Conn. Gen. Stat. § 52-352b(a)
nothing exceptional. ,_-'-»-'_~ j
Line from Schedule A/B'. 11.1 m 100% of fair market value, up to

any applicable statutory limit
inexpensive jewlery, a few rings and $250_00 - $250_00 Conn. Gen._ Stat. § 52-352b(r)
necklaces f-»-- ,,______r----_"
Line from Schedule A/B: 12.1 g 100% of fair market value, up to

any applicable statutory limit

Official Form 1060 Schedule C: The Property You Ciaim as Exempt page 1 of 2

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Ca - `
Se 19 50441 DOC 1 Fl|ed 04/02/19 Entered 04/02/19 11:59:03 Page 16 Of 57

Debtor 1 Amy Nlarie Garrison Case number (ifknown)
Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B
a cat, very friendly 01 00 m $1_00 Conn. Gen. Stat. § 52-352b(r)

Line from Schedule A/B: 13.1 __--'--_ ,__r'__-'-_-'-’~
m 100% of fair market value, up to
any applicable statutory limit

Cash $50_00 a $50_00 Conn. Gen. Stat. § 52~352b(r)
Line from Schedule A/B: 16.1 _~r»~'r~'~* ____..-___-*H*_'
l:| 100% of fair market value, up to
any applicable statutory limit

checking: TD Bank $35_00 d $35_00 Conn. Gen. Stat. § 52-352b(r)
Line from Schedule A/B: 17.1 g-r-_--_* j
m 100% of fair market value, up to
any applicable statutory limit

security deposit for apartment: $1 050 00 o $1 050 00 Conn. Gen. Stat. § 52-352b(l)
landord ____-.’-"»- ________/_-’-r_'
l_ine from Schedule A/B: 22.1 m 100% of fair market value, up to

any applicable statutory limit

Fideiity Bank $230_00 $230_00 4 Conn. Gen. Stat. §§ 5-192w,
Line from Schedule A/B: 24.1 _»f-'-*’~ _____»r-r/___ 5-171
m 100% of fair market value, up to
any applicable statutory limit

3. Are you claiming a homestead exemption of more than $160,375?
(Sub]ect to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

§ No
l:l Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case’?

l:l No
El Yes
Official Form 1060 Schedule C: The Property You Ciaim as Exempt page 2 of 2

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Case 1 - `
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Debtor 1

Amy Nlarie Garrison
First Name l\/iidd|e Name Lasl Name

Debtor 2
Niiddle Name Last Name

(Spouse if, filing) First Name

United States Bankruptcy Court for the: DiSTRlCT OF CONNECTICUT

Case number
(ir\<nown> |'_'_l Check if this is an

amended filing

 

Official Form 106D
Schedule D: Creditors Who Have C|aims Secured by Property 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information. if more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).

’i. Do any creditors have claims secured by your property?
L__l No, Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.
g Yes. Fill in ali of the information below.

List Ali Secured C|aims

     

          

2. List all secured claims. lt a creditor has more than one secured claim, list the creditor separately Commn A Commn B Column C

for each claim if more than one creditor has a particular clalm, list the other creditors in Part 2. As Amount of claim Vaiue of collateral Unsecured

much as possible, list the claims in alphabetical order according to the creditors name. Do not deduct the that supports this portion
value of coilateral, claim if any

Describe the property that secures the claim: ~ $6,5'/5,00 $3,100.00 $3,475.00
2007 Acura TL

Sensible Auto Lending

Creditor’s Name

     
   

As of the date you file, the claim is: Check all that

275 i\lliddiesex Turnpike apply

Number, street city, stare a zip code l___l Un\rquidaied
l:l Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
l Debtor 1 only g An agreement you made (such as mortgage or secured
L__l Debtor 2 only ear \Oan>
l:l Debtor 1 and Debtor 2 only l:l Statutory lien (such as tax lien, mechanics lien)

l.__l At least one of the debtors and another l:l Judgment lien from a lawsuit

l:l Check if this claim relates to a l:l Other (includir\g a right to offset)
community debt

ast 4 digits of account number 4831

Date debt was incurred 4/13/2018 L
$3,825.00

Describe the property that secures the claim: $6,575,00 $2,750.00

2007 Acura TL115000 miles
warning light all indicating
robiems

. . A th d f'l
275 i\lliddiesex Turnpike a§p§_f 9 atey°“ 'e'

- Sensible Auto Lending

Creditor's Name

 
    
 
  

    

the claim is: check all that

 

Number, Slreel, City, State & Zip Code m Unliquidated
ij Disputed

Who owes the debt? Check one. Nature of lien. Check all that apply

n Debtor1 only An agreement you made (such as mortgage or secured
l:l Debtor 2 only ear team

l:l Debior 1 and Debtor 2 only l:l Statutory lien (such as tax lien, mechanic‘s lien)

l:l At least one of the debtors and another m Judgment lien from a lawsuit

l:l Check if this claim relates to a l:l Other (including a right to offset)

community debt

Date debt was incurred 4/13/2()18 Last 4 digits of account number 4831
Official Form 106D Schedule D: Creditors Who Have C|aims Secured by Property page 1 of 2

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Case number (ir \<n<>w)

Debtor1 Amy Nlarie Garrison
Firsl Name Nliddle Name Lasl Name

$13,150,00

$13,'|50.00

Add the dollar value of your entries in Column A on this page. Write that number here:
if this is the last page of your form, add the dollar value totals from all pages.
Write that number here:

     

 

   
 

, List Others to Be Notified for a Debt That You Airead Listed
Use this page only if yo
trying to collect from you for a debt you owe to someone
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. if you do not have additiona

debts in Part 1, do not fill out or submit this page.

   

u have others to be notified about your bankruptcy for a debt that you already listed in Part1. For exampie, if a collection agency is
else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
l persons to be notified for any

Official Form 1060 Additional Page of Schedule D: Creditors Who Have Ciaims Secured by Property page 2 of2

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Debtor 1

Amy lVlarie Garrison
First Name Nilddle Name Last Name

Debtor 2

Middle Name Last Name

(Spouse if, filing) First Name

United States Bankruptcy Court for the: DlSTRiCT OF CONNECTICUT

Case number
(irknowni [:l Check if this is an

amended filing

 

Official Form 106E/F
Schedule Ele Creditors Who Have Unsecured Ciaims 12/15

Be as complete and accurate as possibie. Use Part1 for creditors with PRlORlTY claims and Part 2 for creditors with NONPRlORlTY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule AIB: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D'. Creditors Who Have Ciaims Secured by Property. if more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. if you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

List Ali of Your PRlORlTY Unsecured C|aims

1. Do any creditors have priority unsecured claims against you?

 
      

 

n No. Go to Part 2,

d Ciaims

 

3. Do any creditors have nonpriority unsecured claims against you?

l:l No, You have nothing to report in this part Submlt this form to the court with your other schedules ~\~

n Yes,

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. if a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it ls. Do not list claims already included in Part 1. if more
than one creditor holds a particular claim, list the other creditors in Part 3.lfyou have more than three nonpriority unsecured claims fill out the Contlnuation Page of

Part 2.
Total claim

Last 4 digits of account number $0.00

Nonpriorlty Creditor's Name
When was the debt incurred?

;__________,___»-_--

maid As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.

§ Debtor1 only l:l Contingent

l.__l Debtor 2 only l:l Unllquidated

m Debtor 1 and Debtor 2 only l:l Disputed

Type of NONPRlORlTY unsecured claim:
l:l Student loans

g At least one of the debtors and another

l:l Check if this claim is for a community

debt E Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims

w NO l:l Debts to pension or profit-sharing plans, and other similar debts

m a Other. Specify

Yes

Official Form 106 E/F Schedule EIF: Creditors Who Have Unsecured Ciaims Page 1 of 15

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Debtor 1 Amy Nlarie Garrison Case number (iri<iiow)

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Alitran Financial, LP
Nonpriority Creditor's Name

PO BOX 722929

Houston, TX 77272-2929
Number Street City State le Code

Who incurred the debt? Check one.

a Debtor 1 only

l.__l Debtor 2 only

l___l Debtor 1 and Debtor 2 only

l___l At least one of the debtors and another

l:l Check if this claim is for a community
debt
is the claim subject to offset?

a No
[:l Yes

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M

Last 4 digits of account number 9816 $9,743.03
When was the debt incurred? 1/1/2012

As of the date you file, the claim is: Check all that apply

l:l Contingent
l:l Unliquidated

l:l Disputed
Type of NONPRlORlTY unsecured claim:

l.__\ Student loans

l:l Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

l:l Debts to pension or profit-sharing plansl and other similar debts

§ Qiher_ gpecify motor vehicle ioan, car repossessed

///////

Bank of iViissouri
Nonpriority Creditor’s Name
5129 S Broadband Lane

Sioux Fails, SD 57109
Number Street City State Z|p Code

Who incurred the debt? Check one.

§ Debtor 1 only

l:l Debtor 2 only

m Debtor 1 and Debtor 2 only

l:l At least one of the debtors and another

l:l Check if this claim is for a community
debt
is the claim subject to offset?

ENo
i:l

Bank of llllissouri
Nonpriority Creditor's Name
5109 S Broadband Lane

Sioux Fails, SD 57109
Number Street City State le Code

Who incurred the debt? Check one.

g Debtor1 only

l___l Debtor 2 only

l:.l Debtor 1 and Debtor 2 only

l:l At least one of the debtors and another

l:l Check if this claim is for a community
debt
is the claim subject to offset?

lNo
l:l

Last 4 digits of account number 2174 $429.00
When was the debt incurred? 8/31/20'18

As of the date you file, the claim is: Check all that apply

l:l Contingent
El unliquidated

l:l Disputed
Type of NONPRlORlTY unsecured claim:

ij Student loans

l:l Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

l:l Debts to pension or profit-sharing plans, and other similar debts

§ Oiher_ Specify consumer purchases

Yes
$425.00

Last 4 digits of account number 2066
When was the debt incurred? 10/26/2018

As of the date you file, the claim is: Check all that apply

l:l Contingent
l:l unliquidated

l:l Disputed
Type of NONPRlORlTY unsecured claim:

m Student loans

l:l Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

ij Debts to pension or profit-sharing plans, and other similar debts

a Other serv M

Yes

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Schedule Ele Creditors Who Have Unsecured Ciaims Page 2 of 15

Best Case Bankruptcy

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Debtor1 Amy Nlarie Garrison

 

 

 

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Case number (iri<n<>w)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Credit One Bank Last 4 digits of account number 0598 $734.()0
Nonpriority Creditor‘s Name
PO Box 98872 When was the debt incurred? 2/4/2016
Las Vegas, NV 89193-8872
Number Street City State le Code As of tlie date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
m Debtor1 only l:l Coniingent
l:l Debtor 2 only l:l Unliquidated
l:l Debtor 1 and Debtor 2 only l:l Disputed
l:l At least one of the debtors and another Type °f NONPRlORlTY unsecured claim:
l:l Check if this claim is for a community m Studem loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
NO ij Debts to pension or proht-sharing plans, and other similar debts
l:l Yes W Oiherd 3 eci consumer urchases
i> fv
ngh NetWork Last 4 digits of account number $300_00
Nonpriority Creditor's Name
9601 S. lVleridian Blvd When was the debt incurred? 1l1l2018
Englewood, CO 80112
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred tlie debt? Check one.
m Debtor1 only l:l Contlngent
l:l Debtor 2 only L__l Unliquldated
l:l Debtor 1 and Debtor 2 only l:l Disputed
l:l At least one of the debtors and another Type °f NONPRlORlTY Unsecured C|aim:
l:l Check if this claim is for a community [:] Smdem loans
debt [:] Obligations arising out of a separation agreement or divorce that you did riot
is the claim subject to offset? report as priority claims
§ NO L__l Debts to pension or profit-sharing plans, and other similar debts
[l Yes § Other gpeciry consumer purchases
Eversource Last 4 digits of account number 2and $6,500.00
Nonpriority Creditor's Name
107 Se|den Streef_ When was the debt incurred?
Berlin, CT 06037
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
§ Debtor1 only l:l Contingent
l:l Debtor 2 only l:| Unliquidated
l:l Debtor1 and Debtor 2 only l:l Disputed
l:] At least one of the debtors and another Type Of NONPRlORl-W unsecured C|aim:
l:l Check if this claim is for a community m Studem loans
debt l:\ Obligations arising out of a separation agreement or divorce that you did riot
is the claim subject to offset? report as priority claims
§ NO l:l Debts to pension or profit-sharing plans, and other similar debts
l__.l Yes 0 he 3 err electrial and as service
t r. pe y
Official Form 106 E/F Schedule EIF: Creditors Who Have Unsecured C|aims Page 3 of 15

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Best Case Bankruptcy

Case 19-50441 DOC 1 Filed 04/02/19 Entered 04/02/19 11:59203

Debtor 1 Amy Nlarie Garrison Case number (iii<nqtv)

First Access

Nonpriority Creditor's Name
PO Box 5220

Sioux Fails, SD 57117-5220
Number Street City State le Code

Who incurred the debt? Check one.

§ Debtor 1 only

l:l Debtor 2 only

l:l Debtor1 and Debtor 2 only

El At least one of the debtors and another

m Check if this claim is for a community
debt
is the claim subject to offset?

g No
l:l Yes

Page 22 of 57

________,___r__~_-_-~

Last 4 digits of account number 1336 $377.65
When was the debt incurred? 10/1/2018

As of the date you file, the claim is: Check all that apply

l:l Contingenl
i:l unliquidated

l:l Disputed
Type of NONPRlORlTY unsecured claim:

l:l Student loans

l.__l Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

l:l Debts to pension or profit-sharing plans, and other similar debts

§ Other_ Specify consumer purchases

////

Ford lVlotor Credit

Nonpriority Creditor’s Name
PO Box 542000

Omaha, NE 68154
Number Street City State Z|p Code

Who incurred the debt? Check one.

n Debtor1 only

l:l Debtor 2 only

l:l Debtor 1 and Debtor 2 only

l:] At least one of the debtors and another

l:l Check if this claim is for a community

Last 4 digits of account number 5297 $9,743.00
When was the debt incurred? 1l22/20'\6

As of the date you file, the claim is: Check all that apply

l:l Contingent
i'_] unliquidated

l:l Disputed
Type of NONPRlORlTY unsecured claim:

E Student loans

debt [:l Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
§ NO l:l Debts to pension or profit-sharing plans, and other similar debts
l:l Yes E Oiher_ Specify motor vehicle loan, vehicle repossessed
4.1 . . .
0 Fl'Ontl€‘l' COmmUrllCathnS Last 4 digits of account number $294-00
Nonpriority Creditor’s Name
p0 Box 7404()7 When was the debt incurred? 1l1l2018
Cincinnati, OH 45274-0407
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Wllo incurred the debt? Check one.
n Debtor 1 only l:l Contingent
l:i oei>tqi 2 only l:i unliquidated
m Debtor 1 and Debtor 2 only l:l Disputed
l:l At least one of the debtors and another Type of NONPRlORlTY unsecured claim:
l:l Check if this claim is for a community m Smdem 'Oans
debt L__l Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
§ NO l:l Debts to pension or proHt-sharing plans, and other similar debts
l:l Yes a Other_ Speciry phone Sel'VlCe
Official Form 106 E/F Schedule Ele Creditors Who Have Unsecured Ciaims Page 4 of 15

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Best Case Bankruptcy

Debtor1 Me_§_§rnsron______._r_r_r#-

4.1
1

4.1
2

4.1
3

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Case number (iti<now)

__________________--_

J€ff€l'SOn Caplta| SySten"lS, LLC Last 4 digits Of account number 1279 $1,072.10
Nonpriority Creditor's Name
PO BOX17210 When was the debt incurred? 9/1/2018
Go|den, CO 80402
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Checi< one.
g Debtor 1 only t:l Contingent
l:l Debtor 2 only 1:1 Unliquidated
l:l Debtor 1 and Debtor 2 only l:l Disputed
[:] At team One Of me debtOrS and another Type of NONPRlORlTY unsecured claim:
l:l Check if this claim is for a community g Smdem loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
§ No m Debts to pension or profit-sharing plans, and other similar debts
l'_`| Yes E Other4 gpecify consumer purchases
KOh|S Department StOl'e Last 4 digij Of account number 2327 $488.00
Nonpriority Creditor's Name
PO BOX 3115 When was the debt incurred? 1/31/2016
lVlilwaukee, Wl 53201
Number Street City State le Code As of the date you file, the claim is: Checl< all that apply
Who incurred the debt? Check one.
g Debtor1 only l:] Contingent
l:\ Debtor 2 only L__\ Unliquidated
l:| Debtor 1 and Debtor 2 only t:l Disputed
|:\ At least One Of me debtors and another Type of NONPRlORlTY unsecured claim:
l:l Check it this claim is for a community m Studem loans
_ debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
g NO L__\ Debts to pension or profit-sharing pians, and other similar debts
ft Yes 3 Other. gpec~,ry consumer purchases
N\id Atlal’\tiC FinanC€ CO Last4 digits of account number BL___ F_,______$"_L
Nonpriority Creditor's Name
15201 Rooseve|t Blvd When was the debt incurred? 6I4l2012
C|earwater, FL 33762
Number Street City State le Code As of the date you file, the claim is: Check ali that apply
Who incurred the debt? Check one.
n Debtor1 only L__l Contingent
l___l Debtor 2 only |:l unliquidated
[:1 Debtor 1 and Debtor 2 only 1:1 Disputed
1:1 At least one of the debtors and another Type of NONPRlORlTY unsecured claim:
L__l Check if this claim is for a community l:] Studem wang
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
§ No l:] Debts to pension or pront-sharing plans, and other similar debts
l:| Yes E when Specify automobile that was repossessed
Schedule E/F: Creditors Who Have Unsecured Ciaims Page 5 of 15

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Best Case Bankruptcy

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Debtor1 M

 

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Case number (iil<now)

_d____________~_»-rd

4.1 .
4 MO|'\@V\\O“, lnC Last 4 digits of account number 3225 $600.00
Nonpriority Creditor's Name
p0 BOX 1547 When was the debt incurred? 11/24/2017
Sand , UT 84091 ,
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
m Debtor1 only l:\ Contingent
l:] Debtor 2 only l:\ Unliquidated
13 Debtor 1 and Debtor 2 only l:t Disputed
m At least one of the debtors and another Type of NONPRlORlTY unsecured e'aim"
m Check if this claim is for a community m Student loans
debt m Obligations arising out oi a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
W NO t:l Debts to pension or profit-sharing pians, and other similar debts
l:l Yes Other Speci¢y consumer purchases
4.1 .. .
NlthWaaSWl, LLC dba LOB|'\AtLaS Last 4 digits of account number $400.00
Nonpriority Creditor's Name
p0 BOX 1193 When was the debt incurred? 1/1/201 8
Lac Du Flambeau, Wl 54538
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Debtor 1 only l:\ Contingent
[:1 Debtor 2 only l:| Unliquidated
l:l Debtor1 and Debtor 2 only l:l Disputed
[:\ At least one of the debtors and another Type °f NONPRlORlTY unsecured claim:
m Check if this claim is for a community m S\udent loans
debt \:\ Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
§ NO l:l Debts to pension or profit-sharing plans, and other similar debts
l:l Yes Other Specify consumer purchases
4.1 .
6 Optlmum SyStem COl‘p. Last 4 digits of account number $300-00
Nonpriority Creditor's Name
1111 Sfewart Avenue When was the debt incurred?
Beth a e, NY11714
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
§ Debtor1 only l:] Contingent
1:\ Debtor 2 only m Unliquidated
l:l Debtor 1 and Debtor 2 only 1:\ Disputed
L__l At least one of the debtors and another Type of NONPRlORlTY unsecured claun"
m Check if this claim is for a community m Su‘dent loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
§ NO 1:1 Debts to pension or profit-sharing plansl and other similar debts
[:l Yes § 0 h r 3 on consumer urchases
t e . pe lfy
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Ciaims Page 6 of 15

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Debtor 1 Amy Nlarie Garrison Case number (irrnoiy)
4.1 .
7 POi‘thllO ReCOV€t‘y Last 4 digits of account number 2905 $282-00

 

___________r___r__--

Nonpriority Creditor's Name
120 Coroprate Blvd, Ste 100 When was the debt incurred? 4/19/2018
Norfolk, VA 23502

 

________'____r__»-'-.
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
§ Debtor 1 only l:l Contingent
|:] Debtor 2 only 4 E Unliquidated
l:l Debtor 1 and Debtor 2 only m Disputed
|:| At toaSt one ot the doototS and another Type of NONPRlORlTY unsecured claim:
l:l Check if this claim is for a community l:l Sludenl loans
debt l:] Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
§ NO t:l Debts to pension or profit-sharing plans, and other similar debts
l:l Yes E Othery Specity consumer purchases
4.1 .
3 Sa“\e Nlae Last 4 digits of account number 1EOO $495-00
Nonpriority Creditor's Name
123 Justison Street, 3d Floor When was the debt incurred? 11/5/2010
Wilmin ton, DE 19801
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Debtor1 only l:l Contingent
|:l Debtor 2 Only l:l unliquidated
l:l Debtor 1 and Debtor 2 only l:l Disputed
l:] At least one of the debtors and another Type of NONPRlORlTY unsecured claim:
l:l Check if this claim is for a community Sluoonl loans
debt L__l Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
l 0 m Debts to pension or profit-sharing plans, and other similar debts
N
l:l Yes l:] Other. Specify
student loans
4.1 .
9 Sallle l\/\ae Last 4 digits of account number 1E00 $3,557-00
Nonpriority Creditor's Name
123 Justison Street, 3d Floor When was the debt incurred? 3/18/2011
Wilmin ton,DE19801
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
n Debtor1 only \:\ Contingent
[:j Debtor 2 onty t:l Unliql.lidated
l:l Debtor 1 and Debtor 2 only l-_-l Disputed
t:t At least One Ofthe debtors and another Type of NONPRlORlTY unsecured claim:
m Check if this claim is for a community m Sluoenl loans
debt m Obligations arising out of a separation agreement or divorce thatyou did not
ls the claim subject to offset? report as priority claims
g NO l:] Debts to pension or profit-sharing plans, and other similar debts
l:] Yes l:l Other. Specify
student loan
Official Form 106 E/F Schedule ElF: Creditors Who Have Unsecured Ciaims Page 7 of 15

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Debtor1 Amy Nlarie Garrison

4.2 .
Sallle lVlae

 

 

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Case number (lr know)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last 4 digits of account number 1EOO $Z,OO0.00
Nonpriority Creditor's Name
123 Justison Street, 3d Floor When was the debt incurred? 3/18/2011
Wilminqton, DE19801
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
o Debtor1 only m Contingent
[j Debtor 2 Only l:l Unliquidated
l'_`l Debtor1 and Deblor 2 only m Disputed
m At teast One Ot the debtors and another Type of NONPRlORlTY unsecured claim:
m Check if this claim is for a community g Studem loans
debt l:l Obligations arising out ot a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
§ NO l:| Debts to pension or profit-sharing plans, and other similar debts
l:l Yes l:l olhor, specify
student loan
4,2 .
1 Sallle lVlae Last 4 digits of account number 1E00 $1-00
Nonpriority Creditor's Name
123 Justison Street, 3d F|oor When was the debt incurred? 10/26/2009
Wilmington, DE19801
Number Street City State Zip Code As of the date you file, the claim is: Checl< all that apply
Who incurred the debt? Check one.
Debtor l only |:l Contingent
l:l Debtor 2 only m Ubliquidaf€d
m Debtor 1 and Debtor 2 only m Disputed
l:] At teast One Ot the debtors and another Type of NONPRlORlTY unsecured claim:
l:] Check if this claim is for a community Stude“t mens
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
§ NO 4 |:l Debts to pension or profit-sharing plans, and other similar debts
l:l Yes l:l Other, Specify
student loans
4.2 .
2 Sallle lVlae Last 4 digits of account number 1E00 $1-00
Nonpriority Creditor's Name
123 Justison Street, 3d Floor When was the debt incurred? 10/26/2009
Wilmington, DE19801
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
w Debtor1 only l:] Contingent
[:] Debtor 2 On\y l:l Unliquidated
m Debtor 1 and Debtor 2 only m Disputed
L_.l At least one of the debtors and another Type of NONPRlORlTY unsecured claims
L__l Check if this claim is for a community g Studem mens
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
a NO m Debts to pension or proHt-sharing plans, and other similar debts
l:l Yes l:] Other, Specify
student loan
Oft'lcia| Form 106 E/F Schedule Ele Creditors Who Have Unsecured C|aims Page 8 of 15

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Debtor1 Amy llllarie Garrison

 

 

 

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Case number (irl<now)

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.2 .
3 Sallle Nlae Last 4 digits of account number 1E00 $1-00
v Nonpriority Creditor's Name
123 Justison Street, 3d Floor When was the debt incurred? 5/17/2010
Wilmington, DE 19801
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
il Debtor l only 5 Contingent
|:] Debtor 2 Only l:l Unliquidated
l:l Debtor 1 and Debtor 2 only l:l Disputed
l:l At least one of the debtors and another Type Of NONPRlORlTY unsecured claim:
l:l Check it this claim is for a community Sludenl loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
§ NO l:l Debts to pension or profit»sharing plans, and other similar debts
l:l Yes l:l olher. specify
student loan
4.2 .
4 Sallle Nlae Last 4 digits of account number 1EOO $1-00
Nonpriority Creditor's Name
123 Justison Street, 3d Floor When was the debt incurred? 6/29/2010
Wilmington, DE 19801
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor1 Onjy l:l Contingent
j___| Debtor 2 Onjy l:l Unliquidated
l:l Debtor 1 and Debtor 2 only l:l Dlspuled
O ' :
l:l At least one of the debtors and another Tpe of N NPR|OR|TY unsecured claim
l:l Check if this claim is for a community Sllldenl loans
debt l:] Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
§ NO l:l Debts to pension or prot"lt~sharing plans, and other similar debts
l:l Yes l:l Other. Specify
student loan
4.2
5 SYNCB/AIT\SZOH PLCC Last 4 digits of account number 8361 $526-00
Nonpriority Creditor's Name
P() BOX 965015 When Was tile debt incurred? 3/8/2016
Orlando, FL 32896-5015
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
§ Debtor 1 only l:l Contingent
l:l Debtor 2 only m Un|iquidated
ll Debtor1 and Debtor 2 only l:l Disputed
l.__l At least one of the debtors and another Type °f NONPRlORlTY unsecured claim:
l:l Check if this claim is for a community l:l Sludem loans
debt m Obligations arising out ot a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
“ NO l:l Debts to pension or protit»sharing plans, and other similar debts
l:l Yes l Other Specify consumer purchases
Official Form 106 E/F Schedule ElF: Creditors Who Have Unsecured C|aims Page 9 of 15

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Best Case Bankruptcy

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Debtor 1 M Case number (itltndty)
42 .
6 Target Card SerV|CeS Last 4 digits of account number 4509 $544.21

42
7

4.2
8

 

Nonpriority Creditor's Name
3901 West 53rd Street

Sioux Fails, SD 57106-4216
Number Street City State Zip Code ,

Who incurred the debt? Check one.

Debtor 1 only

l.__l Debtor 2 only

l:l Debtor 1 and Debtor 2 only

l:l At least one of the debtors and another

l:l Check if this claim is for a community
debt
ls the claim subject to offset?

Nonpriority Creditor's Name
NCD-0450
PO Box 1470

l\l|innea otis lVlN 55440
Number Street City State le Code

Who incurred the debt? Check one.

 

Debtor 1 only

l:l Debtor 2 only

l:l Debtor 1 and Debtor 2 only

l:l At least one of the debtors and another

l:l Check if this claim is for a community
debt
ls tile claim subject to offset?

Nonpriority Creditor's Name
187 Church Street

Torrin ton, CT 06790
Ntlmber Street City State Zip Code

Who incurred the debt? Check one.

a Debtor 1 only

l:l Debtor 2 only

m Debtor 1 and Debtor 2 only

m At least one cl the debtors and another

l:l Check ifthis claim is for a community
debt
ls the claim subject to offset?

lNo
l:l

________r______¢--

When was the debt incurred? MM_____¢_______

As of the date you file, the claim is: Check all that apply

ij Contingent
l___l unliquidated

m Disputed
Type of NONPRlORlTY unsecured claim:

l:l Student loans

m Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

NO l:] Debts to pension or pront-sharing plans, and other similar debts
l:l Yes § Othery Specify consumer purchases
TD Bank USA/Tal'g€t Last 4 digits of account number 3442 $544-00

___/-

When was the debt incurred? B§/_zg'l_(i_______________

As of the date you file, the claim is: Check all that apply

l:l Contingent
l:l unliquidated

l:l Disputed
Type of NONPRlORlTY unsecured claim:

l:l Student loans

l:\ Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

a NO l:l Debts to pension or profit-sharing plans, and other similar debts
l:l Yes § Other_ Specify consumer purchases
Torringtorl Enel‘gy Last 4 digits of account number $935.00

__________»_--‘

When was the debt incurred?

__________/__---~

As of the date you file, the claim is: Check all that apply

l:l Contingent
ij unliquidated

m Disputed
Type of NONPRlORlTY unsecured claim:

\:l Student loans

\:l Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

ij Debts to pension or profit~sharing plans, and other similar debts

§ Other. Specify

Yes

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Schedule EIF: Creditors Who Have Unsecured Ciaims Page 10 of 15

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Best Case Bankruptcy

Debtor1 M

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4.3
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1

 

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Torrington Nlunicipal & Teacher
Nonpriority Creditor's Name

Federal Credit Union

777 E lVlain Street

Torrln ton, CT 06790
Number Street City State Zip Code

Who incurred the debt? Check one.
Debtor1 only

l:l Debtor 2 only

l:l Debtor 1 and Debtor 2 only

ij At least one of the debtors and another

l:l Check if this claim is for a community
debt
ls the claim subject to offset?

g No
[___l Yes

Total Visa
Nonpriority Creditor's Name
PO Box 5069

Sioux Fails, SD 57117-5069
Number Street City State le Code

Who incurred the debt? Check one.

§ Debtor 1 only

\:l Debtor 2 only

l.__l Debtor1 and Debtor 2 only

l:l At least one of the debtors and another

\:l Check if this claim is for a community
debt
ls the claim subject to offset?

 

No
l:l Yes

US Dept of ED/Navient
Nonpriority Creditor's Name
123 Justison Street, 3rd Floor

Wilmin ton DE19801
Number Street City State Zip Code

Wlio incurred the debt? Check one.

§ Debtor1 only

l:l Debtor 2 only

[:] Debtor 1 and Debtor 2 only

m At least one of the debtors and another

l:l Check if this claim is for a community
debt
ls the claim subject to offset?

 

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Case number (iitnqw)

______________.__'--

Last 4 digits of account number $18,056.11
When was the debt incurred? 1/17/2()17

As of the date you file, tile claim is: Check all that apply

l:l Contingent

ij unliquidated

l:l Disputed

Type of NONPRlORlTY unsecured claim:

l:\ Student loans

ij Obligations arising out of a separation agreement or divorce that you did not

report as priority claims

l:l Debts to pension or profit-sharing plans, and other similar debts

E Other_ Specify consumer purchases

Last 4 digits of account number 9794 $429.58
When was the debt incurred? 10/1[20'1 8

As ol the date you file, the claim is: Check all that apply

l:l Contingent

l:l unliquidated

l:l Disputed

Type of NONPRlORlTY unsecured claim:

m Student loans

L__l Obligations arising out of a separation agreement or divorce that you did not

report as priority claims

L__l Debts to pension or profit-sharing plans, and other similar debts

§ Other_ Specify consumer purchases

Last 4 digits of account number 2015 $4,375.00

When was the debt incurred? 10/26/2009

'_'__________r_r__-

As of the date you file, the claim is: Check all that apply

l:l Contingent

l:l unliquidated

l:l Disputed

Type of NONPRlORlTY unsecured claim:
g Student loans

l:l Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

ij Debts to pension or profit-sharing plans, and other similar debts

l:l Other. Specify

student loand

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Schedule ElF'. Creditors Who Have Unsecured C|aims

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Debtor1 Amy Nlarie Garrison

 

 

 

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Case number (irl<ndw)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.3 .
2 US Dept Of Ed/NaV|€llt Last 4 digits of account number 2015 $4,375.00
Nonpriority Creditor's Name
123 Justison Street, 3d Floor When was the debt incurred? 06/29/2010
Wilmington, DE19801 g
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor1 only l:l Contingent
jj Debtor 2 Only El unliquidated
l:l Debtor 1 and Debtor 2 only l:l Disputed
m At least One Of the debtors and another Type of NONPRlORlTY unsecured claim:
m Check if this claim is for a community m Sludenl loans
debt l:l Obligations arising otlt of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
NO l:l Debts to pension or profit-sharing plans, and other similar debts
t:l Yes t:] Other. Specify
student loans
4,3 .
3 US Dept Of ED/NaVlF-‘nt Last 4 digits of account number 2015 $1,603.00
Nonpriority Creditor's Name `
123 Justison Street, 3d When was the debt incurred? 10/26/2009
Wilmington,DE19801
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one,
oabtqri only |:| Contingent
[___| Débtor 2 Only l:l Unliquidated
l:l Debtor 1 and Debtor 2 only l:l Disputed
l:l At least one of the debtors and another Type of NONPRlORlTY unsecured clalm:
m Check if this claim is for a community g Sludenl loans
debt t:| Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
NO l:l Debts to pension or profit-sharing plans, and other similar debts
l:] Yes t:l Other. Specify
student loans
4.3 .
4 US Dept Of ED/Navlenf Last 4 digits of account number 2015 $1,747-00

 

 

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Nonpriority Creditor's Name
123 Justison Street, 3d Floor
Wilmington, DE 19801

 

Number Street City State Z|p Code
Who incurred the debt? Check one.

n Debtor1 only

l:l Debtor 2 only

[:l Debtor 1 and Debtor 2 only

m At least one of the debtors and another

t:l Check if this claim is for a community
debt
ls the claim subject to offset?

 

l:l Yes

 

Schedule Ele Creditors Who Have Unsecured C|aims

When was the debt incurred?

5/17/2010

 

As of the date you file, the claim is: Check all that apply

l:l Contingent
m Unliquidated

l:l Disputed
Type of NONPRlORlTY unsecured claim:

Student loans

l:l Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

l:l Debts to pension or profit-sharing plans, and other similar debts

l:l olnar. specify

 

student loans

Page 12 of 15
Best Case Bankruptcy

Debtor1 M

4,3

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Schedule ElF: Creditors Who Have Unsecured Ciaims

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Case number (irltndw)

’____,__/______r-'-'-

5 US Dept Of ED/Navierit Last 4 digits of account number 2015 $2,627-00
Nonpriority Creditor's Name
123 Justison Street, 3d Floor When was the debt incurred? 06/29/2010
Wilmin ton, DE19801
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check onev
a Debtor1 only 1:1 Contingent
ij Debtor 2 amy l:l unliquidated
m Debtor 1 and Debtor 2 only m Disputed
L-_\ N least One Of me debtors and another Type of NONPRlORlTY unsecured claim:
t:l Check it this claim is for a community a Studem 103"3
debt t:t Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
§ 0 1:1 Debts to pension or pront-sharing plans, and other similar debts
N
t:] Yes 1:1 Other. Specify
student loans
4,3 .
5 US Dept Of ED/Navlel'\t Last 4 digits of account number 2015 $4,285-00
Nonpriority Creditor's Name
123 Justison Street, 3d Floor When was the debt incurred? 03/18/2011
Wilmin ton,DE19801
Number Street City State Zip Code As of the date you file, the claim is'. Check all that apply
Who incurred the debt? Check one.
m Debtor1 only 1:1 Contingent
ij Debm, 2 my i'_`l unliquidated
t:t Debtor 1 and Debtor 2 only m mspde
L__t At least one of the debtors and another Type Of NONPR\OR|TY unsecured c|alm"
m Check if this claim is for a community g Studem loans
debt t:t Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
§ NO t:t Debts to pension or profit-sharing plans, and other similar debts
t:\ Yes t:t Other Specify
student loans
4.3 .
7 US Dept Of ED/Navlent Last 4 digits of account number 2015 $792.00
Nonpriority Creditor's Name
123 Justison Street, 3d Floor When was the debt incurred? 11/05/2010
Wilmin ton, DE 19801
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Debtor 1 only 1:1 Contingent
[] Debtor 2 Only l'_'l unliquidated
t:t Debtor 1 and Debtor 2 only n Disputed
1:1 At least one of the debtors and another Type Of NONPR\OR|TY unsecured claim:
l:t Check if this claim is for a community § Swdem loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
n NO 1:1 Debts to pension or proflt-sharing plans, and other similar debts
t:t Yes t:\ Other. Specify
student loans

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Debtor 1 Amy Nlarie Garrison Case number (irltnow)
4.3 .
n US Dept Of ED/Navler\t Last 4 digits of account number 2015 $3,'120.00

Nonpriority Creditor's Name
123 Justison Street, 3d Floor When was the debt incurred? 03/18/2011
Wilmin ton, DE19801
Number Street City State Zip Code As of the date you tiie, the claim is: Check all that apply
Who incurred the debt? Check one.
§ Debtor1 only 1:1 Contingent
["_'] Dethf 2 Only l:t Unliquidated
l:l Debtor1 and Debtor 2 only t:t Disputed

L-_l Ar least One Of the debtors and another Type of NONPRlORlTY unsecured claim:

t:t Check if this claim is for a community g Student hans

debt |:] Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims

§ NO L_.t Debts to pension or profit-sharing plans, and other similar debts

t:t Yes 1:1 Other. Specify

student loans

List Others to Be Notified About a Debt That You Alread Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For exampie, ita collection agency

is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you

have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors iiere. lt you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

         

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?

A“tran Financial, LP Line §lOi (Ch€Ck One).‘ t:l Part1: Creditors with Priority Unsecured Ciaims
PO Box 4043 § Part 21 Creditors with Nonpriority Unsecured C|aims
Concord, CA 94524-4043

Last 4 digits of account number 1024
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
CT State Nlarshal Sara Laden Line 4.29 of (Checi< one): l:l Part 1: Creditors with Priority Unsecured Ciaims

PO Bo)< 3634
Bridgeport, CT 06605-8134

 

Part 2: Creditors with Nonpriority Unsecured Ciaims

Last 4 digits of account number 3483
Name and Address On which entn/ in Part 1 or Part 2 did you list the original creditor?
Ford NlOtO|‘ Credif COmpany, LLC Line §£Oi (Che€l< On€‘)f 1:1 Part 1: Creditors with Priority Unsecured Ciaims
One Amerlcan Road m Part 2: Creditors with Nonpriority Unsecured Ciaims

Dearborn, lVll 48126
Last 4 digits of account number

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Grady & Riley, LLP Line 4.29 of (Check one): l:] Part 11 creditors with Priority unsecured claims
86 Buckmgham Street § Part 21 Creditors with Nonpriority Unsecured Ciaims

Waterbury, CT 06710
Last 4 digits of account number

Name and Address On which entry in Part1 or Part 2 did you list the original creditor?

LVNV Funding LLC Line L§of (Checl< one).' L__t Part 11 Creditors with Priority Unsecured Ciaims
ClO Resurgent Caplta\ Servlces l Part 2: Creditors with Nonpriority Unsecured C|aims
PO Box 1269
Greenville, SC 29603

Last 4 digits of account number 0593
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
United Re$OU|‘C€ SyStemS Line 428 0f (Ch€C/< On€)-' t:] Part1: Creditors with Priority Unsecured Ciaims
10075 W Co‘fax AVe § Part 2: Creditors with Nonpriority Unsecured Ciaims
Denver, CO 80215-3907

Last 4 digits of account number 2879
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
Victoria's Secret/C omenty Bank Line 4.11 or,`(Chec/< one): l:l Part 1; creditors With Priority unsecured claims
PO BOX 182273 a Part 2; Creditors with Nonpriority Unsecured Ciaims

Columbus, OH 43218-2273
Last 4 digits ot account number
Official Form 106 E/F Schedule E/F'. Creditors Who Have Unsecured Ciaims Page 14 of 15

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Debtor1 Amy Nlarie Garrison

 

Add the Amounts for Each Type of Unsecured Claim

Case number (ir know)

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6. Total the amounts of certain types ot unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim. `

Total
claims
from Part1

Total
claims
from Part 2

Official Form 106 E/F

Ga.

6b.
Gc.
6d,

66.

Gf.

Sg.
oh.

61.

er

Domestic support obligations

Taxes and certain other debts you owe the government
C|aims for death or personal injury while you were intoxicated

Other. Add all other priority unsecured claims Write that amount here.

Total Priority, Add lines 6a through Gd,

Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts

Other. Add all other nonpriority unsecured claims Write that amount
here.

Total Nonpriority. Add lines 6f through 6i.

Schedule E/F'. Creditors Who Have Unsecured Ciaims

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Ga.

6b.
6c
bd

Be.

6f.

Sg.
6h.

61

et

 

 

 

 

 

 

Total Claim
0.00
0.00
0.00
0.00
0.00
Total Claim
28,980.00
0.00
0.00
52,723.68
81 ,703.68

 

 

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D€thrl Amy Nlarie Garrison
First Name ' |\/liddle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name lvtidd|e Name Last Name

 

United States Bankruptcy Court for the: DlSTRlCT OF CONNECTlCUT

 

Case number
tifitnovyn) [:l Check if this is an

amended filing

 

 

 

Official Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, Write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
No. Check this box and file this form with the court with your other schedules You have nothing else to report on this form.
l:l Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B.'Property (Officia| Form 106 A/B).

 

2. List separately each person or company With Whom you have the contract or |ease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases

 

 

 

 

 

 

 

 

 

 

Person or company With whom you have the contract or lease State What the contract or lease is for
Name, Number, Street, City, State and ZlP Code

2.1

Name

Number Street

City State ZlP Code
242

Name

Number Street

City State ZlP Code
2.3

Name

 

Number Street

 

 

 

 

 

 

 

 

 

 

City State ZlP Code

2.4
Name
Number Street
City l State ZlP Code

2.5
Name
Number Street
City State ZlP Code

Official Form 1066 Schedule G: Executory Contracts and Unexpired Leases Page 1 oft

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Debtor1 Amy Nlarie Garrison
First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name lVliddle Name Last Name

 

United States Bankruptcy Court for the: DlSTRlCT OF CONNECTICUT

Case number
(if known)

[] Check if this is an
amended Hling

 

 

thicial Form 106l-l
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married
people are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additiona| Page,
fill it out, and number the entries in the boxes on the left. Attach the Additiona| Page to this page. On the top of any Additional Pages, Write
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.

§ No
[:l Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, ldaho, Louisiana, Nevada, New l\/lexico, Puerto Rico, Texas, Washington, and V\lisconsin.)

§ No. Go to line 3.
l:l Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing With you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Nlake sure you have listed the creditor on Schedule D (Official
Form106D),Schedule ElF (Official Form 106E/F), or Schedule G (Official Form1066). Use Schedule D, Schedule E/F, or Schedule G to fill

out Column 2.

Column 1.' Your codebtor Column 2: The creditor to whom you owe the debt

 

Name, Number, Street, Cily, State and ZlP Code Check all Schedules that applyj
ij Schedule D, line
Name l:l Schedule E/F, line

E Schedule G, line

 

 

 

 

 

 

Number Street
City State ZlP Code

l:l Schedule D, line
Name |Il schedule E/F, line

l:l Schedule G, line
Number Street
City State ZlP Code
Official Form 106H Schedule H: Your Codebtors Page 1 of1

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Debtor 1

Amy Nlarie Garrison

Debtor 2
(Spouse` if filing)

r__'________'__r_____-rr-_-#

United States Bankruptcy Court for the: DiSTRlCT OF CONNECT\CUT

__r_______________-_r__

Case number Check if this is:

_____________'_______'__--_

ur known) ~ l:i An amended filing

l:i A supplement showing postpetition chapter
13 income as of the following date:

OffiCla\ Form 106| m
Schedule i: Your income 12/15

Be as complete and accurate as possib|e. if two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing joint|y, and your spouse is living With you, include information about your
spouse. if you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed,
attach a separate sheet to this form. On the top of any additional pages, Write your name and case number (if known). Answer every question.

 

Describe Emlo ment

 

1. Fill in your employment

information. D@beri Debtor 2 or non~filing spouse
if you have more than one job, § Employed l:l Empioyed
attach a separate page with Emp|eyment Stetu$ m m Not em lo ed
information about additional NOt employed p y
em lo ers. _ _
p y Occupation manufacturing _ _ ____
include part-time, seasonal, or l ‘
self-employed work. Emp|°yer 3 name Fueiceil Er\er lnc.

grc|c;l[pqaet:;kn;;ayifirittcal‘:;c;t|ai:$tudent Emp|oyers address 3 Great Pasture Road
' Danbury, CT 06813-1305

How long employed there? two ears

___________________-

    
 

' Give Detai|s About lVionthl income

   

Estimate monthly income as of the date you file this form. if you have nothing to report for any line, write $O in the space. include your non-filing
spouse unless you are separated

if you or your non-filing spouse have more than one empioyer, combine the information for all employers for that person on the lines below. if you need
more space, attach a separate sheet to this form.

For Debtor1 For Debtor 2 or
non-filing spouse

 

List monthly gross wages, salary, and commissions (before all payroll

 

 

2~ deductions). if not paid monthly, calculate what the monthly wage would be. 2- $ 2’226'67 $ NlA
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +$ N/A
4. Caiculate gross lncome. Add line 2 + line 3. 4. $ 2,226.67 35 N/A

 

 

Ot`l`icizil Form lO()i Schedule l: Your income page l

Debtor 1

Copy line 4 here 4- 35 2,226.67 $ NlA
5. List all payroll deductions:
5a Tax, illiedicare, and Sociai Security deductions 5a. $ 104.45 $ N/A
5b. lViandatory contributions for retirement plans 5b. $ 0.00 $ NlA
5c. Voluntary contributions for retirement plans 5C» $ 92.86 $ N/A
5d. Required repayments of retirement fund loans 5d, $ 0_00 $ NlA
5e. insurance 5€. $ 6.96 $ NlA
5f. Domestic support obligations 5f. $ 0.00 $ NlA
59. Union dues 5Q~ $ 0.00 $ N/A
5h. Other deductions Specify: 5h.+ $ 0.00 $ N/A
6. Add the payroll deductions. Add lines 5a+5b+50+5d+5e+5f+59+5h. 6. $ 204.27 $ NlA
7, Caiculate total monthly take-home pay. Subtract line 6 from line 4, 7. $ 2,022.40 $ N/A
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income 8a. $ 0_0() $ N/A
Bb. interest and dividends 811 $ 0.00 $ N/A
80. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
include aiimony, spousal support, child support, maintenance divorce
settlement, and property settlement Sc. $ 0.00 $ N/A
8d. Unemp|oyment compensation Bd, $ 0.0D $ N/A
8e. Sociai Security 8€- $ 0.00 $ N/A
Bf. Other government assistance that you regularly receive
include cash assistance and the value (if l<nown) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrltion Assistance Program) or housing subsidies
Specify: Sf. $ 0.00 $ N/A
BQ. Pension or retirement income SQ. $ 0.00 $ N/A
8h. Other monthly income. Specify: Bh.+ $ 0.00 $ N/A
9. Add all other income. Add lines 8a+8b+8c+8d+8e+8f+89+8h. 94 $ 0,00 $ N/A
10. Caiculate monthly income. Add line 7 + line 9. lO. $ 2,022.40 + $ NlA = $ 2,022.40
Add the entries in line 10 for Debtor 1 and Debtor 2 or non~filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your household your dependents your roommates, and
other friends or relatives
Do not include any amounts already included in lines 2~10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. +$ ___0_.00_
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedu/es and Stat/'stica/ Summary of Certain Liabilities and Related Data, if it
applies $ 2,022.40
Combined

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Amy lVlarie Garrison

Entered 04/02/19 11:59203

 

 

 

 

Case number (ilknown)

For Dei)tor 1

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For Debtor 2 or
non-filing spouse

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

13. Do you expect an increase or decrease within the year after you file this form?

 
 

i`_'l

No.

 

 

 

 

 

monthly income

 

Yes. Explain: V

Ol`iicizll Form 1061

Schedule l: Your income

page 2

 
 
   

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e 19 50441 Doc 1 Flled 04/02/19 Entered 04/02/19 11:59:03 Page 38 of 57

D€blOfl Amy Nlarie Garrison Cl`i€CK ll ll'iiS le

['_'| An amended filing
Debtor 2 i'_'] A supplement showing postpetition chapter
(Spouse, iffiling) 13 expenses as of the following date:
United States Bankruptcy Court for the'. DiSTRlCT OF CONNECT|CUT l\/|l\/l / DD / YYYY

Case number

___'______r__._/-_~r»-
(if known)

 

Official Form 106J
Schedule ..i: Your Ex enses 12/15

Be as complete and accurate as possible if two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach another sheet to this form. On the top of any additional pages, Write your name and case
number (if known). Answer every question.

Describe Your Household

 
   
 

this a joint case?

§ No. Go to line 2.
l:l Yes. Does Debtor 2 live in a separate household?

l:l No
l:l Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? l'_'i NO

DO not list Debtor 1 and § Yes Flll_out this information for Dependent’s relationship to Dependent’s l?oes dependent
Debtor 21 ' each dependent .............. Debtor1 or Debtor 2 age live with you?
Do not state the m NO
dependents names. Child 4 l Yes
ij No
Child 7 - Yes
l:l No
child 8 l Yes
[:l No
child 10 l Yes
3. Do your expenses include E NO j

expenses of people other than m
yourself and your dependents? Yes

d Estimate Your Ongoing iVionthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

     

include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule l.' Yourlncome
(Official Form 106|.) v 7 y l Your expenses

 

4. The rental or home ownership expenses for your residence include first mortgage

payments and any rent for the ground or lot. 4' $ P___________l£§()»O-O~

if not included in line 4'.

4a. Real estate taxes 43. $ 0.00

4b Property, homeowners or renter’s insurance 4b. $ 0,00

40. Home maintenance repair, and upkeep expenses 4c. $ 2()_00

4d. Homeowner’s association or condominium dues 4d. $ 0.00
5. Additionai mortgage payments for your residence, such as home equity loans 5. $ 0.00

Official Form 106J Schedule J: Your Expenses page 1

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Debtor 1 Amy Nlarie Garrison Case number (ifknown)
6. Utiiities:

6a Electricity, heat, natural gas 63. $ 100.00

6b. Water, sewer, garbage collection 6b. $ 0.00

6c. Telephone, cell phone lnternet, satellite and cable services 60. $ 100_00

6di Other. Specify: 6d. $ 0.00
7. Food and housekeeping supplies 7. $ 450.00
8. Chiidcare and children’s education costs 34 $ 100.00
9. Clothing, laundry, and dry cleaning 9. 3 50.00
10. Personal care products and services 10. 55 50.00
11. llliedicai and dental expenses 11. $ 0 00
12. Transportation. include gas, maintenance bus or train fare

Do not include car payments. 12~ $ 0‘00
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 100.00
14. Charitable contributions and religious donations 14. $ 0.00
15. insurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance 15a. $ 0.00

15b Heaith insurance 15b $ 0.00

15c. Vehicle insurance 15C. $ 0.00

15d. Other insurance Specify: 15d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: 16. $ 0.00
171 installment or lease payments:

17a. Car payments for Vehicle 1 173. $ 0.00

17b. Car payments for Vehicle 2 17b» $ 0.00

17c. Other. Specify: 17C. $ 0.00

17d. Other. Specify: 17d $ 0.00
18. Your payments of alimony, maintenance and support that you did not report as

deducted from your pay on line 5, Schedule l, Yourlncome (Official Form 106|). 18~ $ 0'00
19. Other payments you make to support others who do not live with you. 35 0.00

Specify: » 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Yourlncome

20a i\/lortgages on other property 20a $ 0.00

20b. Real estate taxes ZOb. $ l 0.00

20c. Property, homeowner‘s, or renter’s insurance 206. $ 0.00

20d, i\/laintenance, repair, and upkeep expenses 20d. $ 0,00

20e. i-lomeowner's association or condominium dues 20c. $ 0.00
21. Other: Specify'. 21. +$ 0.00

    

22. Caiculate your monthly expenses
22a. Add lines 4 through 21. 2,020.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

__________________-~

220. Add line 22a and 22b. The result is your monthly expenses 2,020_00

23. Caiculate your monthly net income
23a Copy line 12 (your combined monthly income) from Schedule i. 23a $ 2,022_40
23b. Copy your monthly expenses from line 220 above 23bl -$ 2,()20_()0

230. Subtract your monthly expenses from your monthly income _
The result is your monthly net income 230. $ 2.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For example do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
modification to the terms of your mortgage?

§ No.

ij Yes. Explain here:

Official Form 106J Schedule J: Your Expenses page 2

Case 19-5 '
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Debtor1 Amy l\llarie Garrison
lViiddie Name Last Name

First Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: DiSTRlCT OF CONNECT\CUT

Case number

___/__,,__r/__-i-
ur known) \:] Check if this is an

amended filing

 

foicial Form 106Dec
Deciaration About an individual Debtor`s Schedules 12/15

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form Whenever you file bankruptcy schedules or amended schedules iillaking a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

000, or imprisonment for up to 20

   

Sign Below

  
 

Did you pay or agree to pay someone Who is NOT an attorney to help you fill out bankruptcy forms?

a No

 

[___] Yes. Name of person Attach Bankruptcy Petition Preparer’s Notice,
Dec/aration, and Signature (Official Form 119)

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and
t

that they are true and correc ~

     

/,, ,,~.. ,,_

X

my i\iiarie Garrison'\ y
Signature of~i:iebtor 1

,t/¢

Signature of Debtor 2

   

Date Date

Official Form 1060ec Declaration About an individual Debtor`s Scheduies

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Best Case Bankruptcy

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Debtor 1

Amy i\iiarie Garrison
Last Name

First Name Nliddie Name
Debtor 2

Last Name

(Spouse if, filing) First Name Middle Name

United States Bankruptcy Court for the: DlSTRiCT OF CONNECT|CUT

___________________r__--_'-

Case number
(iri<nown) \:l Check if this is an

amended filing

 

Official Form 107
Statement of Financiai Affairs for individuals Fiiing for Bankruptcy 4116

Be as complete and accurate as possible if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, Write your name and case
number (if known). Answer every question.

 

     

“ Give Detaiis About Your lillarital Status and Where You Lived Before
1. What is your current marital status?

l:l l\/larried
Not married

 

2. During the last 3 years, have you lived anywhere other than where you live now?

 

l:l No
Yes. List all of the places you lived in the last 3 years Do not include where you live now.
Debtor 1 Prior Address: Dates Debtor1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there
116 ROOSeV€lt AVenLie Flom'TO: l:l Same as Debtor 1 l:l Same as Debtor1
Torrington, CT 06790 12/3/2017 me_TO;

//////

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Commi/n/`ty property
states and territories include Arizona, California, ldaho, Louisiana, Nevada, New i\/lexico, Puerto Rico, Texas, Washington and Wisconsin.)

g No
l:i Yes. i\/lake sure you fill out Schedule H.' Your Codebtors (Official Form 106H),

     
 

b Explain the Sources of Your income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses including part-time activities
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

§ No
l:l Yes. Fill in the details
Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that app|y. (before deductions
exclusions) and exclusions)
Official Form 107 Statement of Financiai Affairs for individuals Fiiing for Bankruptcy page 1

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Debtor1 Amy Nlarie Garrison Case number (ifi<newn)

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable Exampies of other income are alimony', child support; Sociai Security, unemployment
and other public benefit payments‘, pensions; rental income', interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings ifyou are filing ajoint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4,

a No
l:l Yes. Fiii in the details
Debtor1 Debtor 2
Sources of income Gross income from Sources of income Gross income
Describe below each source Describe below (before deductions
(before deductions and and exclusions)
exclusions)

 

6. Are either Debtor1’s or Debtor 2’s debts primarily consumer debts?
l:l No. Neither Debtor1 nor Debtor 2 has primarily consumer debts Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an

individual primarily for a personal, family, or household purpose."

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

m No. Go to line 7. '

l:| Yes List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations such as child support and alimony. Also, do

not include payments to an attorney for this bankruptcy case
* Subiect to adjustment on 4/01/19 and every 3 years after that for cases filed 0n or after the date of adjustment

 

Yes. Debtor1 or Debtor 2 or both have primarily consumer debts
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more’?

U No. Go to line 7.

l:l Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case

Creditor's Name and Address Dates of payment ‘ Total amount Amount you Was this payment for
paid still owe

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives', any general partners; relatives of any general partners; partnerships of which you are a general partner', corporations
of which you are an officer, director, person in contro|, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor 11 U.S.C. § 101. include payments for domestic support obligations such as child support and

alimony,

a No

i:l Yes. List all payments to an insider.

insider`s Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?
include payments on debts guaranteed or cosigned by an insider.

§ No
l:l Yes. List ali payments to an insider
insider`s Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe include creditor's name
Official Form 107 Statement of Financiai Affairs for individuals Fiiing for Bankruptcy page 2

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Dethr 1 Amy Nlarie Garrison CBSE number (ifirnoll/n)

 

10.

114

12.

 

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r, dentify Leqai Actions, Repossessions, and Foreclosures

 

Within 1 year before you filed for bankruptcy, Were you a party in any iawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions divorces, collection suits paternity actions support or custody
modifications and contract disputes

 

 

 

 

l:l No

Yes. Flll m the details

Case title Nature of the case Court or agency Status of the case
Case number

Torrington Niunicipai v. Amy debt collection Litchfield Judiciai District l:l Pending
Garrison 50 Fieid Street l:l On appeal
LLl CV05 4003848 S Torrington, CT 06790 d Conc|uded
Jefferson Capital Systems, LLC v. debt collection Litchfield Judicial District Pending
Amy Garrison 50 Fieid Street On appeal
LLl CV17 5009403 S Torrington, CT 06790 »- Concluded
Jefferson Capital Systems, LLC v. debt collection Litchfield Judiciai District i:| Pending
Amy Garrison 50 Fieid Street [] On appeal
LLl CV18 6018659 S l Torrington, CT 06790 g Concluded

 

Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or ievied?
Check all that apply and fill in the details below

 

' No. Go to line 11.

l:l Yes Fill in the information beiow.

Creditor Name and Address Describe the Property Date Vaiue of the
property

Explain What happened

Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

§ No
l.__l Yes. Fill in the details
Creditor Name and Address Describe the action the creditor took Date action was Amount

taken

Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another officiai?

a No
l:l Yes

v List Certain Gifts and Contributions

 

13. Within 2 years before you filed for bankruptcy, did you give any gifts With a total value of more than $600 per person?
§ No
l:l Yes Fill in the details for each gift.
Gifts With a total value of more than $600 Describe the gifts Dates you gave Vaiue
per person the gifts
Person to Whom You Gave the Gift and
Address:
Official Form 107 Statement of Financiai Affairs for individuals Fiiing for Bankruptcy page 3

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Debtor1 Amy Nlarie Garrison

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Case number (lrl<ndwnl

 

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

No

[:| Yes. Fill in the details for each gift or contribution

Gifts or contributions to charities that total Describe what you contributed Dates you Vaiue
more than $600 contributed

Charity's Name

Address (Number, Street, City, State and ZlP Code)

 

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

 

No
lIl Yes. Fllllnthe delells.

Describe the property you lost and

Describe any insurance coverage for the loss
how the loss occurred

Date of your
lnclude the amount that insurance has paid. List pending loss
insurance claims on line 33 of Schedule A/B.' Property.

List Certain Payments or Transfers

Value of property
lost

 

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

lnclude any attorneys bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy
§ No
l:l Yes. Fill in the details

Person Who Was Paid Descriptlon and value of any property
Address

Date payment Amount of
transferred or transfer was payment
Ernail or website address made
Person Who lVlade the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

§ No
m Yes. Fill in the details
Person Who Was Paid

Description and value of any property Date payment Amount of
Address transferred or transfer was payment
made

18. Within 2 years before you filed for bankruptcy, did you sel|, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement

W No

m Yes. Fill in the details

Person Who Received Transfer

Description and value of Describe any property or Date transfer was
Address property transferred payments received or debts made
paid in exchange
Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

No
lIl Yes. Fill ln the delelle.

Name of trust

Description and value of the property transferred Date Transfer was

made

Official Form 107 Statement of Financiai Affairs for lndividuals Fiiing for Bankruptcy v page 4
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Best Case Bankruptcy

 

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Debtor l Amy Nlarie Garrison Case number (ifknown)

 
    

List of Certain Financiai Accounts, instruments, Safe Deosit Boxes, and Storae Units

   

20. Within1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions

m No

ill Yee. Fill in the deteile.

Name of Financiai institution and Last 4 digits of Type of account or Date account was Last balance
Address tNumber, street, city, State and zlP account number instrument closed, sold, before closing or
Codei moved, or transfer

transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities
cash, or other valuables?

 

No

l:i Yes. l=ill in the details

Name of Financial institution Who else had access to it? Describe the contents Do you still
Address (Number, streel, city, state end zll> code) Address (Number, street, city, have it?

State and ZlP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

m No

iii Yes. Fill in the detaile.

Name of Storage Faciiity Who else has or had access Describe the contents Do you still
Address (Number, streel, city, slate and zlP cede) to it? have it?

Address (Number, street, cily,
State and ZlP Code)

    
 

Proert You Hold or Controi for Someone Eise

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for, or hold in trust
for someone.

   

  

‘ No
iii Yes. Fill in the detaile.
Owner's Name Where is the property? Describe the property Vaiue
Address (Number, street, city, state and zlP cede) gtlg“;>€r» Street, C“v» State and ZlP
0 6
"Pé'; , 10 ' Give Detaiis About Environmentai information

    

For the purpose of Part10, the following definitions appiy:

' Environmentai law means any federal, state, or local statute or regulation concerning poiiution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, iand, soii, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or materiai.

§ Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites

l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report ali notices, reieases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental iaw?

§ No
l:l Yes. Fill in the details.
Name of site Governmentai unit Environmentai iaw, if you Date of notice
Address (Number, street, cily, stale and zlP cedel Address tNumber, street cily, stale and know it
zlP cadet
Official Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 5

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Debtor1 Amy Nlarie Garrison Case number tifi<newn)

25. Have you notified any governmental unit of any release of hazardous materiai?

W No

[ll Yes. Fill in the details

Name of site Governmentai unit Environmentai iaw, if you Date of notice
Address (Ntimber, street, city, state end zlP cede) Address (Number, streety city, state and know it

ZlP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental iaw? include settlements and orders

§ No

[Il Yes. Fill in the details

Case Titie Court or agency Nature of the case Status of the
Case Number Name case

Addre$$ (Number, Street, City,
State and ZlP Code)

   

Give Detaiis About Your Btlsiness or Connections to An Business

    

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

i_-_l A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
l:l A member of a limited liability company (LLC) or limited liability partnership (LLP)
ij A partner in a partnership
l:] An officer, director, or managing executive of a corporation
[:l An owner of at least 5% of the voting or equity securities of a corporation

§ No. None of the above applies Go to Part12.

ij Yes. Check all that apply above and fill in the details below for each business

Business Name Describe the nature of the business Emp|oyer identification number
Address Do not include Sociai Security number or iTlN.
(Nt|mbel', Street, City, State and ZlP COde) Name Of accountant Or bookkeeper

Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions creditors, or other parties

 

No
l:i Yes. Fill in the details belew.

Name Date issued

Address
(Number, Street, City, State and ZlP Code)

 

7 Si nBe|ow

i have read the answers on this Statement of Financial Affairs and any attachments and i declare under penalty of perjury that the answers
are true and correct. l understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519‘, and 3571.

      

Amy lVlar'l,,e Garrison f y Signature of Debtor 2

Signature`/of Debtor1

  

Date Date

____________________-»-

Did you attach additional pages to Your Statement of Financial Affairs for lndividuals Fiiing for Bankruptcy (Official Form 107)?
n No

l:l Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

§ No

l___l Yes. Name of Person .Attach the Bankruptcy Petition Preparer's Notice, Dec/aration, and Signature (Official Form 119).

Official Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 6

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Case number (lrltndwn)

Debtor 1 M

Official Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 7
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Debtor 1

Amy Nlarie Garrison
Middle Name Last Name

First Name

Debtor 2
(Spouse ii, filing) First Name l\/liddle Name Lasl Name

United States Bankruptcy Court for the: DiSTRlCT OF CONNECTICUT

Case number
titl<rtewn) [___i Check if this is an

amended filing

 

Official Form 108
Statement of intention for individuals Fiiing Under Chapter 7 tate

if you are an individual filing under chapter 7, you must fill out this form if:
§ creditors have claims secured by your property, or

n you have leased personal property and the lease has not expired.'
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

if two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the form.

y Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Ciaims

    
   

1, For any creditors that you listed in Part1 of Schedule D: Creditors Who Have Ciaims Secured by Property (Official Form 106D), fill in the

information beiow.

identify tile creditor and tile property that is collateral What do you intend to do With the property that Did you claim the property
secures a debt? as exempt on Schedule C’?
Cr€difOf`S Sensible Auto Lending l:l Surrenderthe property. l:] No
namer w Retain the property and redeem it.
4 . l:l Retain the property and enter into a n Yes
Descrlptlon of 2007 Acura TL Reaffirmatlon Agreement.
Property l:i Retaln the property and [explain]'.

securing debt

_____r______r_________--~

       
     

 
  

 

Part ~ List Your Unexired Personal Proert Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information beiow. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

Describe your unexpired personal property leases Wiil the lease be assumed?
Lessor's name: [] NO

Description of leased

Property: j'_'] Yes

Lessor's namet [] NO

Description of leased

Property'. jj Yes

Lessor's name'. l:l No

Official Form 108 Statement of intention for individuals Fiiing Under Chapter 7 page 1

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CaS€ 19-50441 DOC l

Debtor1 Amy lViarie Garrison

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Case number tlf/</tewn)

 

nam€`.

Description of
property

l:l Retaln the property and redeem it.

l:] Retain the property and enter into a
Reaff/'rmation Agreement.
L__| Retain the property and [exp|ain]:

Page 49 of 57

 

i:l Yes

securing debt:

 

 

  

_, j List Your Unexpired Personal Property Leases

For any unexpired personal property lease thatyou listed in Schedule G: Executoly Contracts and Unexpired Leases (Official Form 106G), fill
in the information beiow. Do not list real estate leases Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Wiii the lease be assumed?

Lessor's name: [___| NO
Descrlption of leased
Property: [:\ Yes
Lessor's name: |:] NO
Description of leased
Property: |'_'] Yes
Lessor's name: [:| NO
Description of leased
Property: [:] Yes
Lessor's name: [:| NO
Description of leased
Property: l:] Yes
Lessor's name: |:] NO
Descriptlon of leased
Property: i:l Yes
Lessor's name: |:| NO
Description of leased
Property: l:l Yes
Lessor's name: [:] NO
Description of leased
Property: [:] Yes

 

 

Under penalty of perjury, l declare that i have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired iease.
/ g /`"l~

 

 

 

Amy Nlarie Garriso Signature of Debtor 2
Signature of Debtor 1
Date ”! ` § Date

 

 

Official Form 108 Statement of intention for individuals Fiiing Under Chapter 7 page 2

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Debtor 1 M

EDS:;):;r §mmg) //,/__/- 1,There is rio presumption of abuse

United States Bankruptcy Court for the: District of Connecticut m 2' The C.alcul.auon to determine if a presumption cf abuse
__r_r--!~*F,”_'__ applies will be made under Chapter 7 Means Test
Ca/cu/ation (Official Form 122A-2).

Case number

("‘<“°W“l i:l 3. The i\/leans Test does not apply now because of
qualified military service but it could apply later,

[:l Check if this is an amended filing

 

Official Form 122A - 1
Chapter 7 Statement of Your Current iVionthiy income lens

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for being accurate. if more space is needed,
attach a separate sheet to this form. include the line number to which the additional information applies On the top of any additional pages, write your name and
case number (if known). if you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of

q alify'n military service, complete and file Statement of Exemption from Presumption ofAbuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   
  

     

Caiculate Your Current iVionthiy income

What is your marital and filing status? Check one only.
§ Not married Fill out Column A, lines 2-11.
[.__] i\llarried and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

  
      
 

l:l i\llarried and your spouse is NOT filing with you. You and your spouse are:
l:l Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

l:l Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
living apart for reasons that do not include evading the l\/leans Test requirements 11 U.S.C § 707(b)(7)(B).

Fill in the average monthly income that you received from ali sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C, §
101(10A), For example, if you are ming on September15, the 6-lnonth period would be Nlarch 1 through August 31. lf the amount of your monthly income varied during

the 6 months add the income for all 6 months and divide the total by 6, Fill in the result Do not include any income amount more than once. For example, if both

spouses own the same rental property, put the income irom that property in one column only. if you have nothing to report for any line, write $0 in the space

 
  
   
     
     
     
     
    
   
  
    

 
 

 

    
 
 

 

      
   
 
 
 

     

 

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

       

2. Your gross wages, saiary, tips, bonuses, overtime, and commissions (before all $

  
    
 
        
      
       
       
   
     
   
    
    
  
    
      
      

 

payroll deductions), 2,418.49 $
3. Alimony and maintenance payments Do not include payments from a spouse if
column ls is filled in. $ 0.00 $
4. Ali amounts from any source which are regularly paid for household expenses
of you or your dependents including child support. include regular contributions
from an unmarried partner, members of your household, your dependents parents
and roommates. include regular contributions from a spouse only if Column B is not
filled in. Do not include payments you listed on line 3. 0-00 $
5. Net income from operating a business profession, or farm
Debtor 1
Gross receipts (before ali deductions) $ 0.00
Ordinary and necessary operating expenses -$ 0-00
Net monthly income from a business profession, or farm $ 0-00 COPV here '> $ 0.00 $
6. Net income from rental and other real property
Debtor 1
Gross receipts (before all deductions) $ 0.00
Ordinary and necessary operating expenses -$ 0.00
Net monthly income from rental or other real property $ 0-00 COPV here ~> $ 0-00 $
interest, dividends and royalties $ 0-00 $

  

Official Form 122A-l Chapter 7 Statement of Your Current lllionthiy income page 1
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Case 1 - `
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Deblor1 Amy i\iiarie Garrison Case number (ifknou/n)

  

  
    
 

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

  
     

8. Unemp|oyment compensation $ 0.00 $

___________-__-4

 
 

Do not enter the amount if you contend that the amount received was a benefit under

the Sociai Security Act. instead, list it here:
FOr vou$ 0.00
$

 
  
     
  
 

  

For your spouse ________________________________________________

 
 
 
 

_____,_.__f-
9. Pension or retirement income. Do not include any amount received that was a

   
    
     
     
    
  
   
  
 
  
  

benefit under the Sociai Security Act. 3 0'00 $
10. income from all other sources not listed above. Specify the source and amount,

Do not include any benefits received under the Sociai Security Act or payments

received as a victim of a war crime, a crime against humanity, or international or

domestic terrorism. if necessary, list other sources on a separate page and put the

total beiow.
//~ 3;_,*9-,01 ;_,_._._.
// $/__LQO_ j
Total amounts from separate pages, if any. + $ 0.00 $

 
   

   
   
  

j
11. Caiculate your total current monthly income. Add lines 2 through 10 for _
each column Then add the total for Column A to the total for Column B. $ 2’418'49 + 3 _ 21418'49

Total current monthly
income

 

Determine Whether the Nleans Test Appiies to You

 
 

12. Caiculate your current monthly income for the year. Fol|ow these steps:

12a Copy your total current monthly income from line 11 _______________________________________________________________________ Copy line 11 here=> $ 2,418,49

l\/lultipiy by 12 (the number of months in a year) X 12

12b. The result is your annual income for this part of the form 12b. $ 29,021-33

n

13. Caiculate the median family income that applies to you. Foiiow these steps:

Fill in the state in which you live.

Fill in the number of people in your household §

Fill in the median family income for your state and size of household ___________________________________________________________________________ 13_ $ 121 ,809.00

To find a list of applicable median income amounts, go oniine using the link specified in the separate instructions
for this form. This list may also be available at the bankruptcy cierk’s office

14. How do the lines compare?

14a § Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse
Go to Part 3.

14b. m Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A~2
Go to Part 3 and fill out Form 122A-2.

Sign Below

   
 

   

he information on this statement and in any attachments is true and correct.

    
 

By signing here, l declare under penalty of perjury thatt
ga
X t. M;}

Amy Nlarie Garrison
Signa re of Debtor1 q

Date § 43 6 ‘9“ ii §
l\/ll\/i DD / YYY
if you checked line 14a, do NOT fill out or file Form 122A-2.

if you checked line 14b, fill out Form 122A-2 and file it with this form.

0 y M,Mm

  
      
 

     
    
 
  

     

Official Form 122A-1 Chapter 7 Statement of Your Current iVionthiy income page 2
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Notice Required by 11 U.S.C. § 342(b) for
dividuals Filin for Bankru tc (Form 2010)

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in g py

This notice is for you if:

You are an individual filing for bankruptcy,
and

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.

§ 101(8) as “incurred by an individual
primarily for a personal, family, or
household purpose."

The types of bankruptcy that are available to
individuals

individuals who meet the qualifications may file under
one of four different chapters of Bankruptcy Code:

Chapter 7 - Liquidation
Chapter 11 - Reorganization

Chapter 12 - \/oluntary repayment plan
for family farmers or
fishermen

Chapter 13 - Voluntary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter. `

Notice Required by 11 U.S.C. § 342(b) for individuals Fiiing for Bankruptcy (Form 2010)

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/

Chapter 7: Liquidation
$245 filing fee

$75 administrative fee

+ $15 trustee surcharge
$335 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their debts
and who are willing to allow their nonexempt
property to be used to pay their creditorsl The
primary purpose of filing under chapter 7 is to have
your debts discharged The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre~bankruptcy debts Exceptions exist
for particular debts, and liens on property may still
be enforced after discharge For example a creditor
may have the right to foreclose a horne mortgage or
repossess an automobile

l-lowever, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your
discharge

You should know that even if you file chapter 7 and
you receive a discharge some debts are not
discharged under the law. Therefore, you may still
be responsible to pay:

most taxes',

most student loans',

domestic support and property settlement
obligations;

page 1

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most fines, penalties, forfeitures, and criminal
restitution obligations; and

certain debts that are not listed in your bankruptcy
papers

You may also be required to pay debts arising from:
fraud or theft;

fraud or defalcation while acting in breach of
fiduciary capacity;

intentional injuries that you inflicted; and

death or personal injury caused by operating a
motor vehicle vessell or aircraft while intoxicated
from alcohol or drugs

if your debts are primarily consumer debts, the court
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.
You must file Chapter 7 Statement of Your Current
Month/y lncome (Official Form 122/\-1) if you are an
individual filing for bankruptcy under chapter 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state

if your income is not above the median for your state
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Ca/cu/afion (Official Form
122A~2).

if your income is above the median for your state you
must file a second form ~the Chapter 7 ll/Ieans Test
Ca/cu/at/'on (Official Form 122A-2). The calculations on
the form- sometimes called the /i/leans Test~deduct
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors if

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your income is more than the median income for your
state of residence and family size depending on the
results of the Means Test, the U.S. trustee bankruptcy
administratorl or creditors can file a motion to dismiss
your case under § 707(b) of the Bankruptcy Code. if a
motion is filed, the court will decide if your case should
be dismissed To avoid dismissai, you may choose to
proceed under another chapter of the Bankruptcy
Code

if you are an individual filing for chapter 7 bankruptcy,
the trustee may sell your property to pay your debts,
subject to your right to exempt the property or a portion
of the proceeds from the sale of the property. The
property, and the proceeds from property that your
bankruptcy trustee sells or liquidates that you are
entitled to, is called exempt property. Exemptions may
enable you to keep your home a car, clothingl and
household items or to receive some of the proceeds if
the property is sold.

Exemptions are not automatic To exempt property,
you must list it on Schedule C.' The Property You Claim
as Exempt (Official Form 106C). lf you do not list the
property, the trustee may sell it and pay all of the
proceeds to your creditors

//

Chapter 11: Reorganization

//
$1,167 filing fee

M
$1,717 total fee
Chapter 11 is often used for reorganizing a business,

but is also available to individuals The provisions of
chapter 11 are too complicated to summarize briefly.

Notice Required by 11 U.S.C. § 342(b) for individuals Fiiing for Bankruptcy (Form 2010) page 2

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following all of the legal requirements.

necessary documents.

 

r__'____________,__r»-'»-'r-.

Chapter 12: Repayment plan for family
farmers or fishermen

J_______,_______________-_--

$200 filing fee
$275 total fee

Similar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.

___'____________________--~_~

Chapter13: Repayment plan for
individuals With regular
income

______/_,_______;___»_-_-_

$235 filing fee
M
$310 total fee

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

Notice Reqllired by 11 U.S.C. § 342(b) for individuals Fiiing for Bankruptcy (Form 2010)

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Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. if you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your famiiy, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
or inaction may harm you. if you file without an attorney, you are still responsible for knowing and

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case l\llaking a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

   

 

Under chapter 13, you must file with the court a plan
to repay your creditors ali or part of the money that
you owe them, usually using your future earnings |f
the court approves your plan, the court will allow you
to repay your debts, as adjusted by the plan, within 3
years or 5 years, depending on your income and other
factors

After you make all the payments under your plan,
many of your debts are discharged The debts that are
not discharged and that you may still be responsible to
pay include

domestic support obligations

most student ioans,

certain taxes,

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity,

most criminal fines and restitution obligations,

certain debts that are not listed in your
bankruptcy papers,

certain debts for acts that caused death or
personal injury, and

certain long-term secured debts

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lit/arrlihg: Fi|e Your Forrns on Time

Section 521 (a)(1) of the Bankruptcy Code requires that
you promptly file detailed information about your
creditors, assets, iiabilities, income expenses and
general financial condition The court may dismiss your
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code the
Bankruptcy Ruies, and the local rules of the court

For more information about the documents and
their deadlines, go to:
' http://wwvv.uscourts.gov/bkarms/bankruptcy form

s.html#p rocedure.

 

 

 

Bankruptcy crimes have serious consequences

if you knowingly and fraudulently conceal assets
or make a false oath or statement under penalty
of perjury-either orally or in writing-in
connection with a bankruptcy case you may be
fined, imprisonedl or both.

Ali information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S.
Department of Justice

Nlake sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on Voluntary Pet/'t/'on for individuals
Fi/ing for Bankruptcy (Official Form 101). To ensure
that you receive information about your case
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address

Notice Required by 11 U.S.C. § 342(b) for individuals Fiiing for Bankruptcy (Form 2010)

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A married couple may file a bankruptcy case
together-called ajoint case if you file a joint case and
each spouse lists the same mailingaddress on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice
unless you file a statement with the court asking that
each spouse receive separate copies

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h). if you are filing a joint
case both spouses must receive the briefing With
limited exceptions, you must receive it within the 180
days before you file your bankruptcy petition This
briefing is usually conducted by telephone or on the
lnternet.

in addition, after filing a bankruptcy case you generally
must complete a financial management instructional
course before you can receive a discharge if you are
filing a joint case both spouses must complete the
course

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
http://iusticeqov/ust/eo/hapcpa/ccde/cc approved.html

in Alabama and North Carolina, go to:
http://www.uscourts.gov/FederalCourts/Banl<ruptg/l
BankruptcyResources/ApprovedCredit

AndDethounselors.aspx.

 

if you do not have access to a computer, the clerk of
the bankruptcy court may be able to help you obtain
the list.

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32030 (Form 2030) (12/15) b
United States Bankruptcy Court
District of Connecticut

in re Amy i\llarie Garrison Case No.
Debtor(s) Chapter 7

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBT()R(S)

l. Pllrsuant to ii U .S.C. § 32()(21) and ch. Bankr. P. 201 6(b), l certify that l am the attorney for the above named dcbtor(s) and that
compensation paid to mc within one year before thc filing of the petition in bankruptcy, or agreed to bc paid to mc, for Scrviccs rendered or to
be rendered on behalf of the dcbtor(s) in contemplation ofor in connection with the bankruptcy case is as follows:

 

 

For legal scrviccs, l have agreed to accept _____ $ 1,065.00
Pl‘iol' to the iiling ot`ihis statement i have received n fi`) 365.00
Baiancc Ducr_` _ $ 700.00

 

2. $ 335.00 ofthe iiiing fcc has been paid.

3. The source oi`thc compensation paid to me was:

 

Debtor i:i Other (Specify):

4. Thc Sollrcc of compensation to bc paid to mc is:

 

Debtor i:i Other (Spccii`y):

 

" j I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of` my law firm.

ij l have agreed to Share the above-disclosed compensation with a person or persons who arc not members or associates of my law tirm. A
copy of the agl‘cclnent, together with a list of the names of the people Sharing in the compensation is attached

6. in return i`or the above-disclosed i`ec, l have agreed to render legal Scl‘vicc for all aspects ofthc bankruptcy casc, including:
a. Analysis oi`the debtor'S financial situation, and rendering advice fo the debtor in determining whether to tile a petition in bankruptcy;
b. Prcparation and filing of any petition, Schedules, statement of affairs and plan which may be rcquired;

c. chl'escnlation oi`thc debtor at thc meeting of creditors and confirmation heal'ing, and any adjourned hearings thcrcof;
d. [Other provisions as nccdedj

7, By agreement with the dcbtor(s), thc above-disclosed fcc does not include the following Servicc:

 

CER'riFlCATloN j

l certify that thc foregoing is a complete statement ol` any agreement or arrangement i`or payment to me for representation oi`thc debtor(s) in
this bankruptcy proceeding
y _,
s s ,‘E
j " “’s

,

f t./t

aj Z`_Mf..`

 
  

  

 

 

Date " 6 Gregory TZ Nol"an, Esq.
Si‘g)zrlrure Q/`Atto)'/rey
Renzulio & Associates
65 Elm Street
Winsted, CT 06098
8603799885 Fax: 8607384906
gtnolan55@hotmail,com
Name Qf/alli`/i`rm

 

 

 

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United States Bankruptcy Court

District of Connecticut

Case No.

ln re Amy Nlarie Garrison
Debtor(s) Chapter 7

VERIFICATION ()F CREDITGR l\/IATRIX

ledge.

The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her know

   

Ame Nlarie/Garrison
Signature of Debtor

 

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